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         Organizational Analysis
      Mississippi Department of Human
                   Services
       Division of Family and Children's Services




                                                    November 24, 2015

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                                                            PUBLIC
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Introduction
Acknowledging the desire and need for broader progress by the Mississippi Department of
Human Services ("MDHS") pursuant to the Modified Mississippi Settlement Agreement and
Reform Plan ("Modified Settlement Agreement") in Olivia Y. v. Bryant, Plaintiffs foster children,
through their counsel A Better Childhood and Bradley Arant Rose & White LLP, reached an
agreement (the "Agreed Order") this summer with Governor Phil Bryant, MDHS and its Division
of Family and Children's Services ("DFCS"). The parties' Agreed Order sets forth a period for
Public Catalyst to complete an organizational analysis of the Mississippi child welfare system,
between July 24, 2015 and November 24, 2015, and make recommendations to the parties as
specified in the order. Following an intensive period of inquiry, fact-finding, analysis and
discernment, this document serves as Public Catalyst's Final Organizational Analysis Report,
setting out recommendations crafted to strengthen Mississippi's ability to achieve substantial
and sustainable improvements in its child welfare system.

Foster children represented by attorneys from Children's Rights, Inc., a nonprofit advocacy
organization, who are now with A Better Childhood, also a nonprofit advocacy organization,
and Bradley Arant Rose & White LLP filed suit in March 2004 in the United States District Court
for the Southern District of Mississippi against the Governor of Mississippi, MDHS and DFCS,
alleging that Mississippi was not adequately protecting and serving children in its child welfare
custody. The parties ultimately reached an agreement embodied in the Mississippi Settlement
Agreement and Reform Plan ("Settlement Agreement"), which was approved by the Court on
January 4, 2008. The Settlement Agreement included commitments designed to enhance the
safety, permanency and well-being of children in the foster care custody of Mississippi.

Since 2008, the federal Court Monitor has consistently reported gaps in MDHS' performance
and the federal court has required Mississippi to implement five annual implementation plans,
a corrective action plan, a remedial order focused on data integrity, and a remedial order
focused on overall performance improvement. The parties renegotiated the Settlement
Agreement and the federal court approved a Modified Settlement Agreement ("MSA") in July
2012 that maintained most of the original Settlement Agreement's commitments but
sequenced their implementation regionally. The MSA supersedes the initial Settlement
Agreement.

The Agreed Order
The parties stipulated this summer that many of the commitments contained in the MSA had
not been met as of July 2015. To establish a corrective path going forward, the Agreed Order




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called for an organizational assessment by Public Catalyst, to include:

   a. recommending an optimal DFCS structure, including whether DFCS should be a free-
       standing agency, its new organizational structure, and to what extent privatization
       should be utilized;

   b. reviewing and considering the findings and recommendations made in the Court
       Monitor's Reports on Implementation Periods 3 and 4;

   c. evaluating the areas in which MDHS and/or DFCS have not complied with the Modified
       Mississippi Settlement Agreement and          Reform    Plan ("MSA") [Dkt. 571] and
       recommending steps necessary to achieve substantial compliance;

   d. reviewing the current positions and salary structure in DFCS, and recommending
       additional positions, if any, necessary for its effective functioning, and salary levels
       necessary to hire and retain qualified personnel for all DFCS positions, including salary
       levels for the senior level management team for the Executive Director;

   e. recommending the management and accountability structure within DFCS;

   f. evaluating and analyzing the current caseload measurements in the MSA and
       determining the most appropriate caseload measurements for workers with dedicated
       and mixed caseloads;

   g. designing a plan for a needs assessment for services for children in care, their families
       of origin, and for foster and adoptive families, as well as a process to implement the
       needs assessment, including timetables;

   h. reviewing at the statewide and regional levels DFCS' data-collection and analysis
       capacities, as well as its capacity to use data for performance management, and
       recommending both short and long-term solutions for strengthening each capacity as
       needed to support substantial compliance with the MSA;

   i. consulting with the Governor regarding the qualifications, level of compensation, and
       the timing for hiring an Executive Director of DFCS;

       recommending qualified candidates to serve as the Executive Director of DFCS; and

   k. working with a representative designated by the Defendants in ongoing discussions
       concerning the development of the recommendations contemplated herein.




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Methodology
I n preparation for this Final Organizational Analysis Report, Public Catalyst undertook extensive
fact-finding activities between July and November 2015 to understand MDHS' progress
i mplementing commitments in the Olivia Y. MSA, and the barriers to success. These activities
i ncluded meetings and interviews with 126 Olivia Y. stakeholders including:


       • the federal Court Monitor;
       • counsel to the parties;
       • members of Governor Bryant's staff;
       • members of the Judiciary;
       • members of the Mississippi Legislature;
       • members of the MDHS and DFCS leadership teams;
       • regional DFCS leadership and staff;
       • scores of foster parents from across the state;
       • staff from the Center for the Support of Families (CSF);
       • staff from Chapin Hall;
       • child welfare leaders from agencies across Mississippi including:
               o Apelah;
               o   Baptist Children's Village;
               o   Catholic Charities;
               o   Christians in Action;
               o   Hope Village for Children;
               o   Methodist Children's Home;
               o   Mississippi Children's Home Services;
               o   New Beginnings International Children's and Family Services;
               o Sally Kate Winters Family Services;
               o Southern Christian Services for Children and Youth;
               o Sunny Brook Children's Home;
               o Two Hundred Million Flowers; and
               o Youth Villages


Public Catalyst conducted numerous phone interviews with foster parents across Mississippi,
selected randomly in a representative sample, to understand their caregiving experience within
the Mississippi child welfare system. In addition, Public Catalyst visited MDHS offices in Hinds,
Hancock and Harrison Counties. During these office visits, Public Catalyst met with regional
leaders and staff to understand the unique challenges and service needs that shape child
welfare practices, which vary across the state. To prepare this report, Public Catalyst reviewed

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and analyzed wide-ranging administrative documents, as well as extensive aggregate and detail
performance data produced by MDHS and the federal Court Monitor including:


    • Olivia Y. Settlement Agreements, Implementation Plans, Remedial Orders and other
        court documents;
    • Court Monitor Reports and Exhibits;
    • DFCS Organization Charts;
    •   MDHS Weekly Activity Report for August 28, 2015;
    •   FY2015 & FY2016 MDHS Turnover Worksheets;
    •   DFCS Staffing Report as of August 31, 2015;
    •   Mississippi Class Specification Bulletins-Social Services Series;
    •   DFCS Caseload/Workload Reports;
    •   Foster Care Placement Data;
    •   Entry Rates Per 1000 Children (June 30, 2014);
    •   Likelihood of Re-entry from Exits (June 30, 2014);
    • Permanent Exits by Exit Type (June 30, 2014);
    • Various reports run from the SQL server, PAD reports and the data dashboard;
    • Plan materials related to the new SACWIS;
    •   Mississippi Child and Family Service Plan 2015-2019;
    •   Mississippi Foster Care Services Assessments-Final Report-October 13, 2009; and
    •   MDHS/DFCS Performance Based Contracting Model & Implementation Strategy


All of the data cited in this report was produced by MDHS and shared with Public Catalyst
directly or through the federal Court Monitor, unless otherwise noted.

Demographics
I n Mississippi, as of May 31, 2015, there were 4,931 children in state custody. As the following
table demonstrates, this number has been steadily increasing over the last two years, and
represents an increase of almost 1,000 children over a 23-month period.

             Table 1. Number of Children in Mississippi State Child Welfare Custody
                                          2013-20151

                         Date             6/30/13         6/30/14       5/31/15
                         Number of        3,936           4,497         4,931
                         children


1
 Lopes, Grace.(2015). Children in Foster Care By Placement Type, By Region One-Day Snapshots, 6/30/13, 6/30/14,
and 5/31/15.

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The majority (82 percent) of children in DFCS custody lived in family settings as of May 31,
2015, including with relatives (31 percent), foster families (32 percent), with their own parents
(13 percent), in therapeutic foster homes (five percent), and in homes that intend to adopt(one
percent). Of children in custody, 545 (11 percent) lived in congregate care settings, including
residential treatment facilities, group homes, and emergency shelters. One percent of children
were AWOL, less than one percent were placed in independent living, and another six percent
resided in other placement settings.2

                 Figure 1. Placement Types of Children in Custody on May 31, 20153
                                                          n= 4,931


                  Foster Care Families                                                                    1,568

                     Licensed Relatives                                            884
                  U nlicensed Relatives                                    659
                            In-Home                                       620
                     Congregate Care                                545
            Therapeutic Foster Homes                226
                      Adoptive Home -111 64
                                AWOL ■ 45
                   Independent Living -1 13
                              Other                   307
                                          0   200         400       600      800    1000   1200   1400   1600




Mississippi data analyzed by Chapin Hall at the University of Chicago4
                                                                     '5 indicate that as of July 1,
2014,6 the majority of children in foster care were age 12 or younger (71 percent). The
following figure shows a complete breakdown of children in care by age:




2 The category "other" includes children with placement settings listed as Pending (271), non-MDHS contract
facility (30), and CPA or interim placement (6).
3 Lopes, Grace.(2015). Children in Foster Care By Placement Type, By Region One-Day Snapshots, 6/30/13,
6/30/14, and 5/31/15.
4 Chapin Hall at the University of Chicago; Center for State Child Welfare Data.(2015).
5 This data excludes children placed in-home or who were AWOL.
6 The data is the most recently available information provided by the federal court monitor to Public Catalyst. The
monitor indicated the data is due to be updated by no later than December 2015.

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                          Figure 2. Age of Children in Foster Care on July 1, 2014




With regard to race, 47 percent of children in foster care were White and 47 percent were
African-American. Three percent of the population was Hispanic, two percent was of unknown
race, and less than one percent was Asian/Pacific Islander or Native American.


Recommendations
A child welfare system ripe for reform requires equal doses of strategy, forbearance, passion,
discipline and an outcome plan that focuses first and foremost on the fundamentals. Following
extensive fact-finding and consultation, this report contains recommendations in service to
those values. In summary, our recommendations are:

Organization and Structure

• In the immediate term, we recommend Mississippi convert DFCS into an "in-but-not-of"
    agency, housed within MDHS but independent of MDHS management and oversight,
    controlling     its    own    budget,     personnel     and     management        information      system
    (MIS)/Information Technology (IT) functions, led by an Executive Director reporting directly
    to the Governor.'

•   Pilot a targeted, county-based privatization of child welfare services (excluding child abuse
    and neglect investigations), beginning with a comprehensive public-private planning
    i nitiative of at least 12 months duration in a county or counties where there exists (a) the



7 In a recommended second phase, we suggest the Legislature and the Governor jointly commission staff to create
and implement a plan that ultimately makes DFCS a free-standing agency by June 30, 2018, in as cost-efficient a
fashion as possible, maximizing resources for implementation of the Olivia Y. commitments.

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    need to expand and strengthen services for children and families, (b) strong private
    capacity, and (c) ample public agency leadership support for the collaboration.

•   Designate a senior member of the Governor's team to support DFCS, coordinate
    i nteragency planning and enhance system collaboration and accountability in furtherance of
    the Olivia Y. commitments for children, youth and families.
•   Build a better-resourced DFCS Field Operations team in the State Office to provide the
    regions more robust and continuous support, guidance and accountability in the agency's
    main program areas: foster care, adoption and child protective services.

•   Create in DFCS a second Deputy Director for Field Operations position to ensure adequate
    management, supervision and support of the regional directors.

•   Move from DFCS Administration to DFCS Field Operations, State Office staff responsible for
    foster care and adoption program functions.

• In order to better implement the unified, central vision and commitments of DFCS, allocate
  to each regional director program staff to recruit, license and support foster and adoptive
    parents adequate to meet the needs of children in the region's custody.
• In order to better implement the unified, central vision and commitments of DFCS, allocate
    to each regional director adequate administrative staff in the region to support the vast
    administrative work of the regional director, including human resources, facilities,
    equipment, data, flexible funds and services.

• To support the streamlining of DFCS' hiring and management of its human capital needs,
    exempt DFCS from State Personnel Board oversight for a period of at least 36 months.

Focusing on the Fundamentals

• Renegotiate the MSA to prioritize key commitments that will focus reform efforts on the
    fundamentals of a strong child welfare system in order to achieve the requirements of
    Olivia Y. This must include the following areas as immediate priorities, and forbearance on
    other priorities until a stronger organization is in place. Once the fundamentals are in place
    sustainably in a county, DFCS should proceed to implement core case practice
    commitments. The fundamentals must include measures to:


       • Increase the availability of family-based placements for children and sharply reduce
         current reliance on shelter care to better meet their needs for safety, permanency
           and well-being.

       •   Address the need to timely license relative foster parents in order to ensure both
           child safety and relative support.

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       •   Reduce the too-high caseloads for many DFCS staff by developing and implementing
           a statewide staffing needs analysis based on a new methodology for "mixed"
           caseloads, followed by an expedited and comprehensive recruitment, hiring, training
           and retention plan to achieve those caseload standards within 12 months.

       •   Ensure an adequate number of properly prepared supervisors, consistent with the
           workload standards described in this report. The parties should expand the eligibility
           criteria for child welfare supervisors to include staff with a qualifying Bachelor's
           Degree and an agreed-upon level of experience.

       •   Raise compensation in DFCS for casework staff in the family protection title series,
           area social work supervisors and regional directors to enhance recruitment and
           retention. Given the responsibilities of the regional directors, their compensation
           should reflect their roles as members of the DFCS senior management team, and
           they should be paid salaries that are more reflective of their roles. When
           determining the level of increased compensation for DFCS caseworkers and
           supervisors, DFCS should use data and information on salary levels being provided to
           similarly qualified staff in other divisions and agencies within Mississippi.

       •   Equip caseworkers with the tools they need to keep children safe, specifically smart
           phones or tablets for field-based investigative work and resource access; and
           computers for work in DFCS offices.

       •   Prioritize and focus DFCS data quality, reporting, analysis, and performance
           management efforts on a limited set of key metrics that can be used to measure and
           evaluate performance on those initiatives during the first year of a new agreement.
• Strengthen the DFCS - Administrative Office of Courts relationship.

•   Work with the Administrative Office of Courts, the Mississippi Legislature and the
    Governor's Office to support an amendment to Rule 11(b)(2) of the Uniform Rules of Youth
    Court Practice which will read, "A parent, guardian or custodian of a child is a party to the
    case. Such includes the Department of Human Services, Division of Family and Children's
    Services, whenever it is serving as the legal or physical custodian of the child under the
    Mississippi Youth Court Law."

Caseload Measurements

• Preserve the MSA's agreed-upon caseload standards, but abandon the MSA's overly-
  complex and outdated minutes-based workload methodology for tracking performance in
    favor of case weighting for mixed caseloads.




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Needs Assessment

•   Given the continuing validity and relevance of the needs assessments previously conducted
    in connection with Olivia Y., DFCS should target its implementation to the expansion of
    family-based placements for children in MDHS custody, access to medical, dental and
    behavioral health services for children, and reunification services for children and families.

•   Create and implement a plan to ensure immediate health care coverage for children taken
    into the child welfare custody of DFCS, and focus MSA requirements on the delivery of core
    healthcare services to children by Mississippi's available pool of healthcare providers;

•   Perform an assessment in counties already served by MDHS' Comprehensive Family Support
    Services Program to identify remaining gaps in services, in terms of both availability and
    q uality of service.

•   In order to facilitate the timely procurement of urgently needed services, exempt DFCS
    from state contracting regulations that unduly burden and delay the delivery of services.

•   Develop and implement a plan to enhance Federal Financial Participation (FFP) in the
    M ississippi child welfare system through blended funding strategies and federal Title IV-E
    and Title IV-B maximization.

Data Collection, Analysis and Performance Management

•   Reach a final determination about the approach to replace MACWIS and implement an
    I nformation Technology Governance Structure.

The Crossroads

DFCS finds itself at the crossroads of a sharply rising foster care population, an inadequate
n umber of family-based placements for children, high staff caseloads and a burgeoning number
of MSA commitments that appear increasingly out of reach to the parties. The agency's staff
morale appears low and many key stakeholders feel outmatched by the forces that propel
children and families into involvement with the Mississippi child welfare system. Most DFCS
caseworkers and supervisors have gone many years without a raise, and salary stagnation has
reportedly contributed to attrition, inhibiting the agency's ability to achieve its full promise. The
agency's data analysis capacity is too modest in some key areas. The agency frequently is not
treated as a party in the Youth Court proceedings that order children removed from or returned
to their birth families, and in a number of regions, DFCS' relationship with the courts is strained.

The most recent data provided by the United States Department of Health and Human Services,
Child and Family Services Review (CFSR), revealed that Mississippi needs to embark on a

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performance improvement plan to stem the recurrence of child maltreatment, to reduce the
frequency with which children move among placements and to achieve faster permanency for
children exiting the system between 12 and 23 months. At the same time, the CFSR data
i ndicates that Mississippi meets national standards for performance in the remaining safety and
permanency measures.

The agency has embarked on many varied initiatives in an effort to address its challenges, but
at this point appears to be at the limits of its capacity to achieve more substantial gains. To
achieve the promise of the Olivia Y. commitments, DFCS needs three essential shifts to occur:
(1) a detailed reform roadmap, agreed upon by the parties, and supported by the Governor,
that is squarely focused in its first phase on the fundamentals of a stronger child welfare
organization; (2) the resources to hire, train and retain a workforce that is able to provide
children and families access to the services they need to exit DFCS involvement and thrive and
(3) robust partnerships with the Mississippi Association of Child Care Agencies, other service
partners and the courts in support of a shared vision for the child welfare system and its
children.

Organization and Structure
The Agreed Order stipulates Public Catalyst will "recommend... an optimal DFCS structure,
including whether DFCS should be a free-standing agency, its new organizational structure, and
to what extent privatization should be utilized." Public Catalyst interviewed Mississippi's key
child welfare stakeholders, including leaders within both MDHS and DFCS, who described the
enormous responsibilities of the larger agency. In addition to DFCS, MDHS includes Divisions for
Aging and Adult Services; Community Services; Youth Services; Early Childhood Care and
Development; and Family Foundation and Support. The breadth of their organizational horizon
prevents MDHS leadership from focusing exclusively on the child welfare system, and they have
not consistently been able to prioritize the various needs of DFCS, such as the data, technology,
budgetary and personnel imperatives that can launch or stall progress under Olivia Y. As part of
the Agreed Order, the parties have already agreed that DFCS will be led by an Executive
Director reporting directly to the Governor and not to the head of MDHS. To enhance the new
DFCS leader's ability to move the agency toward compliance with Olivia Y., (s)he should be
empowered with direct oversight of the functions vital to organizational effectiveness (at a
minimum, personnel, budget and management information systems (MIS)) and not be
accountable in this oversight to MDHS where other priorities necessarily loom and compete.

Some child welfare systems across the United States have reformed as part of larger human
services departments, while others could not do so until they were unencumbered and became
free-standing. Context is relevant and leadership is vital. The optimal structure allows human

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services leaders to maintain their focus on child welfare reform, stay connected to the
Governor in an unfiltered, accountable way and access resources adequate for success.
Restructuring can be an important ingredient to success, particularly in Mississippi where
stakeholders describe competition for resources among MDHS divisions and compelling human
services challenges beyond child welfare.

In the case of Mississippi, the virtues of transforming DFCS into a free-standing agency include,
a mong other attractive gains, an ability for the agency's leadership to focus squarely on the
dynamic needs of the smaller, more-focused organization as it strides toward the Olivia Y.
commitments. To optimize the chance for success, restructuring requires an intensive season of
planning, including a full review — and often a rewriting — of statutes and regulations governing
the agency; an assessment of facility needs and a corresponding plan to meet those needs; and,
perhaps most importantly, a thoughtful examination of available resources and then key
decision-making about the division and allocation of those resources. This is time-consuming
work that ultimately requires the leadership and support of the Legislature. Given the
exigencies that now confront the Mississippi child welfare system, we do not believe
leadership's precious focus and time should be diverted presently to achieve a permanent
separation between MDHS and DFCS. Instead, we recommend a middle path in two segments.
I n Phase One, we recommend immediately implementing an "in-but-not-of" model that houses
DFCS within MDHS in name only, independent of MDHS management and oversight. DFCS
would independently prepare and defend its budget request to the Legislature, and
independently manage its own budget, personnel and MIS functions, led by an Executive
Director reporting directly to the Governor. In Phase Two, over the next 30 months, we
recommend the Legislature and the Governor jointly commission staff to create and implement
a plan that ultimately makes DFCS a free-standing agency by June 30, 2018, in as cost-efficient a
fashion as possible, maximizing resources for implementation of the Olivia Y. commitments.
Throughout this effort, DFCS is more likely to accomplish the goals set forth in Olivia Y. if it is
actively supported and monitored by a senior member of the Governor's team who promotes a
coordinated approach to interagency planning and system collaboration and accountability.

The Agreed Order requires Public Catalyst to consult with the Governor regarding the
q ualifications, level of compensation, and the timing for hiring an Executive Director of DFCS
and recommend qualified candidates to serve as the Executive Director of DFCS. During this
four month period of assessment, we conferred with representatives of the Governor regarding
leadership models that have demonstrated a record of success in similar child welfare reform
efforts across the country. Those conversations included discussions of candidate qualifications
and compensation and were undertaken with a sense of urgency given the vital role DFCS' next
leader must play in stewarding the agency to achieve substantial and sustainable reform. We


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met with potential candidates for the position of Executive Director, assessed their
q ualifications and by November 24, 2015, made a recommendation to the Governor.

The state should bolster staffing in the DFCS Field Operations office in order to adequately
manage and support the work of staff in the regions. At a minimum, a second Deputy Director
position, responsible to supervise regional directors, should be created. The state should move
program staff from DFCS Administration to Field Operations and develop DFCS teams,
connected to the regions and charged to provide the regions more robust and continuous
support, guidance and accountability in the agency's main program areas: foster care, adoption
and child protective services.

DFCS regional directors who are charged with administering the child welfare system across
Mississippi are currently tasked with a broad array of administrative responsibilities. These
tasks attract time and attention away from managing the practices, resources and relationships
critical to gains in the child welfare system. Their work is not presently supported by an
adequate team of program experts in the State Office; regional directors are often asked to do
it all, do it quickly and do it well, with insufficient compensation, guidance and support. That
some of them have made meaningful gains toward Olivia Y. commitments in their regions is a
testament to their passion, hard work and determination. Within DFCS, two additional
structural reforms are essential and urgent to better position regional directors to strengthen
the system for children and families. The state should allocate foster care and adoption staff to
the regional directors, adequate to meet the needs of children in the region. And finally,
Mississippi should assign to the regional directors adequate administrative staff in the regions
to support the vast administrative work currently underway there, including human resources,
facilities, equipment, and access to flexible funds and services.

There are pockets of organizational strength and capacity across Mississippi, present in both
the public child welfare system and among its private, community-based agency partners. The
breadth and depth of vitality along the public-private continuum varies by region, but the
historic collaboration between DFCS and the Mississippi Association of Child Care Agencies
provides a rich opportunity for innovation. We believe DFCS should invite its private system
partners into a comprehensive planning initiative in 2016 that identifies a county or counties
where there exists the need for expanding and strengthening service delivery with both strong
private capacity and ample public agency leadership support to pilot a privatization of certain
child welfare responsibilities, excluding child abuse and neglect investigations. The pilot's
outcomes should be closely monitored against outcomes of an agreed-upon control county and
supported, and expanded as its results accord with Mississippi's Olivia Y. commitments.




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Focusing on the Fundamentals
The Agreed Order tasks Public Catalyst with "reviewing and considering the findings and
recommendations made in the Court Monitor's Reports on Implementation Periods 3 and 4
[and] evaluating the areas in which MDHS and/or DFCS have not complied with the Modified
 Mississippi Settlement Agreement and Reform Plan... and recommending steps necessary to
achieve substantial compliance." The Agreed Order further establishes Public Catalyst's
assessment should include "reviewing the current positions and salary structure in DFCS, and
recommending additional positions, if any, necessary for its effective functioning, and salary
levels necessary to hire and retain qualified personnel for all DFCS positions, including salary
levels for the senior level management team for the Executive Director [and] recommending
the management and accountability structure within DFCS." According to the Court Monitor,
the Period 3 and Period 4 reports contain numerous findings that are both related and
unrelated to specific reporting requirements. Public Catalyst has reviewed both reports and all
appendices at length, and met with the Court Monitor at her offices in Washington D.C. twice.
At Appendix A, we have attached a chart summarizing selected findings contained in the Period
3 and Period 4 reports.

Our experiences strengthening public child welfare systems have been instructive as we
considered the numerous MSA requirements measured and discussed at length by the Court
Monitor, and the barriers to additional gains by DFCS. As we have written8:

        Repairing a public system is like building a house: it begins with the foundation. A sense of urgency is
        critical to any reform movement, but taking the time to develop a strong infrastructure is the only way to
        create positive change that endures. We must be urgent about the right things in a sensible order, and
        too often, we are urgent for outcomes at the expense of the fundamentals that make those outcomes
        more likely. The road to reform involves a logical sequencing of key initiatives that leaves behind the
        chaos and disappointment of the old, flawed system in order to travel toward a system that achieves
        positive outcomes for children and families. New Jersey's revised consent decree embraced this principle,
        bifurcating the work into two phases: the first phase focused on the fundamentals (e.g., massive efforts
        i n recruiting, hiring, training and mentoring staff and aggressive foster and adoptive home growth). The
        second phase followed with service expansion and practice model implementation — ultimately leading
        to improved results. To our surprise, the strength of some of the early work hastened positive results
        elsewhere. For example, as the net number of foster and adoptive homes in New Jersey increased,
        caseworkers had better placement options for children, and existing homes became less strained. This
        led to a lower rate of maltreatment while in care.

 We believe it will be important to success in the Olivia Y. litigation for the parties to negotiate a
 new framework for overall system improvement, sequencing organizational reform in two
 phases. The first phase must put in place the pillars of organizational strength statewide, and

8 Armstrong, et al. (2012) New Jersey: A Case Study and Five Essential Lessons For Reform


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the second phase should prominently feature improved outcomes for children and the core
strategies the parties agree Mississippi will deploy to achieve these results. We recommend the
first phase specifically address the structural framework described in the Organization and
Structure section above; end the shortage of licensed family-based placements for children;
achieve manageable workloads for DFCS caseworkers and supervisors; provide the workforce
with essential tools to help children achieve safety, permanency and well-being; and prioritize
data quality, reporting, analysis, and performance management efforts on a limited set of key
metrics that can be used to measure and evaluate performance on those initiatives during the
first year of a new agreement.

We recognize, drawing on the findings in the court monitor's reports, that some DFCS regions in
Mississippi have made progress in implementing the current child welfare practice model and
that there is a level of momentum in place that should not be interrupted if possible in order to
continue moving toward improved outcomes for children and families. In some of these
regions, primarily the earlier implementing regions, there has been a greater degree of staff
and leadership stability to promote implementation of the practice model than in other
regions. While DFCS' primary efforts should be focused in phase one on ensuring that all of the
fundamentals are in place in all of the regions, we also recommend that, where possible and
a ppropriate, the new DFCS leadership identify those regions in which DFCS' staff and
contractual resources should be used to maintain and continue the momentum toward
i mproving practice and to support ongoing practice model implementation concurrently with
putting the fundamentals in place statewide.

The State of Mississippi and the Plaintiffs agree that child welfare work is challenging. It
requires well-trained staff who garner enough experience over time with the help of strong and
supportive supervision to make good decisions, form strong relationships with children and
families, leverage resources and services, and advocate successfully for good outcomes. It is
rewarding work at its best but challenging to do well on a day-to-day basis. Because the
learning curve is steep, the ability to find and keep good staff is critical, and reform efforts can
be easily and swiftly undermined by high turnover rates among caseload-carrying staff and
supervisors. Moreover, because the work is challenging and all of the work is expected to be
done under tight time constraints, it is important that caseloads be manageable.

An effective approach to work with staff should mirror a model for how the parties want staff
to treat the children and families served by DFCS. The Court Monitor describes a variety of
problems with the caseload data reported by Mississippi, but even at face value, the data
reveals many staff burdened by workloads in excess of the parties' agreed-upon standards. To
achieve positive outcomes for children and families, it is critical that Mississippi have a
competent, committed, trained, and resourced child welfare workforce. The first order of

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business must be the creation and implementation of a comprehensive, dynamic plan to
achieve manageable caseloads for staff within one year. This requires plans be developed and
i mplemented to assess staffing needs sufficient to meet the new workload standards; expedite
the process for filling DFCS vacancies; streamline the DFCS hiring process; exempt DFCS from
State Personnel Board oversight for three years; expand the number and frequency of training
academies for new staff; and address staff attrition and increase caseworker and supervisor
retention. We urge DFCS to change the training delivery system quickly, committing that newly
hired staff enter training within two weeks. Existing staff can be provided with a focused,
organized in-service training menu, the content of which reflects reform priorities with a
rational delivery schedule that ensures office coverage.

We recommend DFCS equip its caseworkers with the tools they need to make sound decisions,
specifically smart phones or tablets for their extensive field-based investigative work and
resource access, and computers for their work in DFCS offices. An enormous amount of time is
lost, and worker burnout reportedly accelerated, by the lack of ready access to information,
such as available resource homes, and investigative information about child abuse histories.
One can never underestimate the impact that working computers, cell phones and other tools
have on both morale and service delivery. Strategic, quick wins early in a reform movement can
reinvigorate staff and the reform process by allowing momentum to build and maximize
precious time and focus for the work of child welfare. Most importantly, caseworkers need
strong supervision, and we recommend the first phase of this iterative reform program ensures
DFCS has in place an adequate number of properly prepared supervisors, consistent with the
workload standards described in the MSA. The parties should expand the eligibility criteria for
child welfare supervisors to include staff with a qualifying Bachelor's Degree and an agreed-
upon level of experience to expand the pool of experienced child welfare practitioners who are
eligible to supervise the agency's casework staff.

The parties stipulated that Public Catalyst should examine salary levels necessary to hire and
retain qualified personnel for all DFCS positions. In general, most wages have been stagnant
within DFCS for many years. Regional directors are required to manage and lead vast pieces of
work with compensation that does not reflect the breadth, depth and importance of their
d uties. We recommend their compensation be elevated to better reflect their responsibilities.
The cost of living component of the Mississippi Variable Compensation Plan has not been
funded for at least 11 years. However, DFCS did receive an across-the-board pay raise on July 1,
2007 for SFY2008, which could be considered a cost of living increase. Subsequent increases
have only been awarded to a small portion of employees.

As a result, DFCS has been challenged to recruit staff as salaries have remained flat. The
following data shows the change in the Consumer Price Index for All Urban Consumers (CPI-U)

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for the Southern Region of the United States from July 2007, the last time an across the board
pay increase was issued to DFCS employees, to July 2015. Over this eight-year period, the CPI-U
increased by 30.148 points or 14.96 percent.9


                               Table 2. CPI-U Southern Region 2007-2015

                       Date           CPI-U         Percent change from prior year
                       J uly 2007     201.571
                       J uly 2008     213.304       +5.8%
                       J uly 2009     208.819       -2.1%
                       J uly 2010     210.988       +1.0%
                       J uly 2011     219.682       +4.1
                       J uly 2012     222.667       +1.4%
                       J uly 2013     227.548       +2.2%
                       J uly 2014     232.013       +2.0%
                       J uly 2015     231.719       -0.1%

DFCS caseworker salaries are in many instances low relative to other social workers employed
by the State of Mississippi in medical, mental health, or psychiatric settings.19 Starting salaries
for these positions are outlined below and compared to DFCS positions with equivalent
q ualifications:


                    Table 3. State of Mississippi Social Work Salary Comparison

    rQualifications      Position Title — Other Salary — Other        Position Title —        Salary —
                         Agency                 Agency                DFCS                    DFCS
      BA                 --                     --                    Family Protection       $23,643.58
                                                                      Worker I
     BA + 1 year of                                                   Family Protection       $27,615.55
     experience                                                       Worker II
     BSW                 Social Worker I           $29,138.72         Family Protection       $27,615.55
                         Social Worker Inst.       $26,665.30         Specialist
     BSW + 2 years       Social Worker III         $35,257.85         Family Protection       $30,049.94
     of experience                                                    Specialist Senior
     BSW + 4 years       Social Worker IV          $38,783.63         Family Protection       $32,700.43
     of experience                                                    Specialist Advanced

And in Appendix B, we have included the public school teachers' salary schedule in Mississippi,
w hich also stands in stark contrast to the more modest compensation afforded to DFCS


9 The Southern Region includes Alabama, Arkansas, Delaware, District of Columbia, Florida, Georgia, Kentucky,
Louisiana, Maryland, Mississippi, North Carolina, Oklahoma, South Carolina, Tennessee, Texas, Virginia, West
Virginia. Data is derived from the Bureau of Labor Statistics. Source: http://www.bls.gov/cpi/cpi dr.htm#2010
1° All information on government employee salaries and position qualifications is derived from the Mississippi
State Personnel Board website: http://agency.governmentiobs.com/mississippi/default.cfm?action=agencyspecs

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caseworkers despite the fact that both professions require a Bachelor's Degree and provide
essential services and support to children. We recommend that as a component of its overall
recruitment and retention plan to achieve manageable workloads for DFCS staff, Mississippi
elevate the compensation for the Family Protection Worker and Specialist title series. The
agency must be careful to ensure that raises do not have the unintended effect of adversely
i mpacting employees. We became aware during this assessment that a number of DFCS staff
q ualify for and receive means-tested public benefits, such as subsidized health insurance,
because their current wages are so low. A pay raise could render some staff ineligible for those
benefits, and if not designed strategically, may be insufficient to outweigh an individual's loss of
public aid. During this assessment, DFCS could not quantify the prevalence of its employees
receiving public benefits, so we simply offer the caution that a salary increase designed to
enhance the agency's recruitment and retention performance should be informed by actual
data and avoid to the maximum extent possible unintended consequences.


The lack of family-based placements for children in the child welfare custody of Mississippi, and
the burgeoning number of placements that are not licensed as reported by the Court Monitor,
presents a key opportunity for DFCS to focus its efforts in a crucial area, and perhaps the most
i mportant service need for children in custody: a safe and loving home. We recommend DFCS
build a plan to increase substantially the availability of licensed, family-based placements and
curtail the system's reliance on shelters.


Within the first order of business for the new DFCS Executive Director is strengthening the
relationship with the Administrative Office of the Courts. In courtrooms across the State, DFCS
is not a party and in some settings has no voice, regarding the disposition of children whose
lives they are entrusted to protect. Unlike child welfare agencies in most states, DFCS is not
treated within most legal processes as an interested party. Children are removed from their
parents' custody, or reunified, or adopted, in many instances without initiating action from the
agency held responsible by the people of Mississippi for children's safety, permanency and
well-being. We recommend the new leader of DFCS work with the Administrative Office of
Courts, the Mississippi Legislature and the Governor's Office to support an amendment to Rule
11(b)(2) of the Uniform Rules of Youth Court Practice which will read, "A parent, guardian or
custodian of a child is a party to the case. Such includes the Department of Human Services,
Division of Family and Children's Services, whenever it is serving as the legal or physical
custodian of the child under the Mississippi Youth Court Law."

Caseload Measurements
The Agreed Order directs Public Catalyst's assessment to encompass "evaluating and analyzing
the current caseload measurements in the MSA and determining the most appropriate

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caseload measurements for workers with dedicated and mixed caseloads." As of June 30, 2015,
according to data and information provided by the Court Monitor, 64 percent of Mississippi's
caseworkers had caseloads that met MSA requirements, and 80 percent of Mississippi's
supervisors had workloads consistent with the MSA requirement of supervising five or fewer
caseworkers.11 The Court Monitor's analysis of, and concerns about the quality of, caseload
data are set forth at length in the most recent reports to the federal court. The data used by the
Court Monitor is generated by MDHS using a minutes-based methodology prescribed in the
MSA that is overly complex and outdated.


We recommend the parties' maintain the caseload standards established in the MSA. They
comport with best practices. However, we recommend the parties agree to replace the
minutes-based methodology with a clear weighting formula for staff who carry more than one
type of case, commonly referred to as mixed caseloads.


DFCS reports it has the capacity to count most caseloads electronically but it will have to
supplement this process through hand-counting and by doing on-going validation of the
electronic information. The parties begin with a simple principle — all work counts. The caseload
counting process for staff who are assigned 100% of the time to a single role and who work full-
time at that role (1.0 full-time equivalent or FTE) is straightforward. Whether the staff and
cases are identified electronically or through hand-counting, the measure is the number of staff
i n each role who meet the standards for that role set forth in Table 4 below.


Caseload rates should be pro-rated for staff who are less than full-time. Caseload rates for staff
who spend part-time in caseload carrying or supervisor functions and part-time in other
functions should be analyzed as if they are part-time staff and their caseloads pro-rated
accordingly.


We recommend that staff with "mixed" caseloads, those who carry more than one type of case,
be subject to the weighting formula below. Utilizing the standards set forth in the MSA, each
individual case will be assigned a weight and then the weights will be added in order to
determine a worker's caseload. Performance should then be evaluated as follows:



11 Lopes, Grace.(2015). Caseworkers with Dedicated Caseloads Meeting MSA Requirements, By Region One-Day
Snapshot 6/30/15; Caseworkers with Mixed Caseloads in Carve Out Counties Meeting MSA Requirements, By
Region One-Day Snapshot 6/30/15; Caseworkers with Mixed Caseloads in Non-Carve Out Counties Meeting MSA
Requirements, By Region One-Day Snapshot 6/30/15; Supervisors in Carve Out Counties Responsible for Supervising
DFCS Caseworkers Meeting MSA Requirements, By Region One-Day Snapshot 6/30/15; Supervisors in Non-Carve
Out Counties Responsible for Supervising DFCS Caseworkers Meeting MSA Requirements, By Region One-Day
Snapshot 6/30/15.

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•   Meet caseload standards
        o     The caseload total is equal to or less than 1.0 = 100%
• Over (but close)
        o The caseload total is above 1.0 and equal to or less than 1.20 = 101 to 120%
• Over
        o The caseload total is greater than 1.20 = 121% or more


We recommend the following weighting be applied in the caseload standards:

                           Table 4. Proposed Mississippi Caseload Standards

                                                                                    Weight Per Case -
                               Role                              Standards
                                                                                     100% Capacity

          Child Protection Workers                           14 investigations            0.0714
          Ongoing Foster Care Workers                           14 children               0.0714
            I n-Home Protection Workers                         17 families               0.0588
            I n-Home Dependency/Prevention Workers              25 families                0.04
            New Application Licensing Workers                    15 homes                 0.0667
            Renewal Licensing Workers                            36 homes                 0.0278
          Adoption Workers                                       9 children               0.1111
          Abuse & Neglect Intake Workers                        118 intakes               0.0085

Needs Assessment
Public Catalyst was charged to design "a plan for a needs assessment for services for children in
care, their families of origin, and for foster and adoptive families, as well as a process to
i mplement the needs assessment, including timetables." Public Catalyst undertook three
a pproaches to gather information and data about Mississippi's identified service needs. First,
we reviewed the Mississippi Foster Care Services Assessments completed by the Center for the
Support of Families (CSF) in October 2009.12 Second, we reviewed MDHS' Child and Family
Service Plan for FFY 2015-2019, issued on June 27, 2014.13 Third, we conducted a series of
phone interviews with 62 randomly selected foster parents across the State of Mississippi using
a standardized tool designed in part to surface gaps in services among substitute caregivers.




12 The CSF assessments focused on reunification services; medical, dental and mental health services; independent
living services; recruitment and retention of resource families and foster care placement assessments; termination
of parental rights; and child safety.
is
   MDHS' Child and Family Service Plan is available at the following web address:
http://www.mdhs.state.ms.us/media/270457/Children-and-Family-Services-Plan-2015-2019-REVISED-11-13-
14.pdf

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CSF's assessments presented a set of findings and recommendations for strategies and
activities MDHS should undertake to address service gaps and case practice gaps within six
identified areas. We compared CSF's recommendations with all provisions of the MSA discussed
by the Court Monitor in the Period 4 report to understand which of CSF's October 2009
recommendations may have been successfully addressed. (See Appendix C detailing
recommendations related to services that CSF presented in its assessment reports from 2009
and related MSA provisions tracked by the Court Monitor for Period 4.) This comparative
review highlighted existing strengths and challenges within Mississippi's child welfare system,
case practices and partnerships.


I n general, the existing record of unmet needs is full. There are two exceptions where
additional data and information will be important to review and analyze before decisions are
made on how to spur progress. First, the dissonance between Mississippi's statewide health
care management model and the gaps in service provision described by the Court Monitor
leave unresolved the causes of children not receiving the healthcare services detailed in the
MSA. We understand that language in the MSA, specifically the inclusion of certain American
Academy of Pediatrics provisions, has been interpreted to disqualify numerous healthcare
providers, including doctors, from being deemed eligible to provide children and youth
q ualifying services, and we urge the parties to clarify their intentions and expand the pool of
healthcare providers deemed qualified to examine children and ensure their health and well-
being. Resource scarcity may be one factor, but we have not learned of robust root cause
analysis to understand further why children are not receiving services, and we recommend that
DFCS do so. It may be that current policy does not fully support the provision of timely
healthcare services to children. As of May 2015, children in Mississippi were placed in at least
659 unlicensed homes. Children who are placed in unlicensed relative homes are not currently
made eligible for Medicaid through DFCS. Instead, with the support of a child's caseworker, an
unlicensed foster parent must apply for Medicaid through their local Medicaid office. We heard
stakeholders describe instances where delays in health coverage were said to have caused
delays in services to children. We recommend that the state create and implement a plan to
ensure immediate health care coverage for children taken into the child welfare custody of
DFCS.


Second, we suggest DFCS perform an assessment in counties already served by MDHS'
Comprehensive Family Support Services Program to identify remaining gaps in services, in
terms of both availability and quality of service. Like its approach to coordinating and delivering
children's healthcare, Mississippi has opted for a statewide approach to family support services.
Gaps in service delivery may be a result of model design or resource limitations, or another



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reason, and we recommend the state collect additional information to better inform its efforts
to meet the needs of children and families.

Our judgment is that the collective record is sufficiently robust to inform the parties'
discussions about better meeting the service needs of children and families, and a new
statewide needs assessment is unlikely to reveal substantial additional information. The record
should be used to shape reform priorities sequenced over time and in concert with DFCS' core
strategies for strengthening the system, with particular focus on the development of family-
based placements for children in MDHS custody, access to medical, dental and behavioral
health services for children, and expansion of reunification and other permanency services for
children and families. As part of a phased approach to reform, we recommend Mississippi
create and implement a coordinated plan between the State Medicaid Office and DFCS to
ensure immediate health care coverage for children placed in the child welfare custody of DFCS,
regardless of where they are placed. The expansion of services for children and families cannot
proceed with dispatch unless DFCS is temporarily relieved of statewide procurement and
contracting regulations that are currently causing lengthy delays for DFCS.

To afford crucial capacity-enhancing initiatives, Mississippi should develop and implement a
plan with dedicated staff resources to enhance Federal Financial Participation (FFP) in the child
welfare system and operations. This effort should involve blended funding strategies, federal
Title IV-E maximization and greater utilization of Medicaid and Title IV-B funds. As Appendix D
reflects, public investments in Mississippi's child welfare system, on a relative per-child basis,
are the lowest in the nation, and must be augmented to strengthen the state's ability to
achieve safety, permanency and well-being for children.

Data Collection, Analysis and Performance Management

The Agreed Order stipulates that Public Catalyst's assessment will involve "reviewing at the
statewide and regional levels DFCS' data-collection and analysis capacities, as well as its
capacity to use data for performance management, and recommending both short and long-
term solutions for strengthening each capacity as needed to support substantial compliance
with the MSA."

The child welfare system finds itself developing and publishing hundreds of regular data
reports, using a variety of manual and technical methods, in service to the requirements of the
MSA and the imperatives of agency management. But the avalanche of information, some of
uncertain validity, has had exactly the opposite of its intended effect: the system in certain
areas has not become more accountable; it has stayed unfocused and ignored most of the
information. Essential to reform work must be the commitment to manage by data, which

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begins with identifying essential data that needs to be tracked, followed by the often painful
task of unmasking quality challenges with the data and developing solutions. The state's over-
taxed technical and data analysis capacities require the parties peel back certain reporting
obligations in the next 12 months and focus the effort.

When determining which measures to use going forward, three inter-connected questions are
in order. As we wrote of our public agency leadership experience14:

        First, seeing our staff as data consumers, we considered the pedagogical value of
        i nformation to drive performance. In other words, we determined what we wanted our
        staff to view as important, and we worked hard to make data accessible — both
        conceptually and literally — on all desktops. We also ensured that the data were easy to
        u nderstand. We used the data to set achievable but aggressive targets that were widely
        shared and used to celebrate success. Everyone knew how everyone else was doing, and
        that knowledge encouraged healthy competition and peer-to-peer learning.

        Second, we considered what managers need to know to navigate the change process. In
        New Jersey, that included everything from the most basic demographic data on children
        i n placement to office staffing levels, training enrollments, newly licensed foster homes,
        and child adoptions, among other measures.

        Third, we considered the data needs of core constituencies whose good will was
        essential to the success of the reform: the governor, the legislature, advocates,
        plaintiffs' counsel and the court- appointed monitor. When the list of reports got too
        long, we did our best to scale back to produce only the core ones. Our chief goal was to
        create an appetite in our staff for managing by data, not continuing to churn reports for
        reports' sake.

We recommend DFCS prioritize and focus its data quality, reporting, analysis, and performance
management efforts on a limited set of key metrics that can be used to measure and evaluate
performance on those initiatives alone. Together the parties should identify key metrics that
illustrate DFCS' performance on the foundational initiatives, and identify data reports that
demonstrate DFCS' performance on those metrics.


As part of the process of identifying those reports, DFCS should conduct a detailed and granular
analysis of the relevant data elements in the existing MACWIS system. This should include an
articulation of where the requisite data elements are located in the system and how they are


14 Armstrong et al.(2012) New Jersey: A Case Study and Five Essential Lessons For Reform


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used by staff in the regions, specification of which data elements underpin each report and the
calculation methodology that each uses, and a clear understanding of how the reports
demonstrate DFCS' performance against the prioritized MSA requirements. Given that this
approach focuses on the foundational commitments that DFCS will prioritize, many of the
reports currently exist.15 DFCS should focus its data quality efforts on those prioritized reports
to validate them exhaustively. It is likely that DFCS will need robust, independent, and external
support from entities with expertise in accessing and using quality child welfare data during the
first years of this work. DFCS' existing data validation process involves a monthly check to
determine whether a report, on its face, appears valid, as well as a periodic full validation of the
report against a sample of cases. This process should be enhanced to also include (a) periodic
validation of the prioritized reports against practice in the regions, rather than solely comparing
the results of the reports to the contents of MACWIS; and (b) rigorous data quality efforts led
by agency leadership that ensure accountability for correcting all data quality issues — whether
they relate to MACWIS, the reporting tools, data entry, or some other reason — in a timely
fashion, including enhanced tracking and reporting on those efforts with regard to aging and
other significant factors. We also recommend the parties agree to adjust the reporting schedule
to that of the Court Monitor. DFCS now produces data to the Court Monitor monthly, even
though the Court Monitor issues comprehensive reports annually. DFCS runs at least 60 reports
at the beginning of each month without adequate time for a proper validation process or trend
analysis. Too much time is being spent in the production of unreliable data and not nearly
enough time or focus is being directed toward data validation and analytic capacity.


When prioritized reports are identified and other reporting obligations are peeled back, DFCS
leadership has the opportunity to focus staff on using those reports to drive operational
performance. To that end, DFCS leadership will assume executive-level responsibility and
ownership to set the tone for all staff that those key measures — and the reports that
demonstrate performance on those key measures — reflect the most important work of the
Mississippi child welfare system at that time. By making clear that managers and staff at all
levels are expected to use these discrete reports as management tools, leadership is best
positioned to hold itself and the entire Division accountable to deliver on the prioritized
commitments and performance as reflected in those reports.


I n support of that initiative, DFCS should reevaluate and reengineer the technical tools that it
uses to provide those reports to all staff. DFCS currently posts the full slate of reports that are
available on an intranet and in a shared drive folder. There are many and better technical
reporting tools available, including those designed for child welfare systems, that will provide

15 We understand a new agreement between the parties on the caseload measurement methodology will require

the development of new reports.

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regular (as frequently as daily) accessible and interactive reports to allow staff, supervisors,
managers, and leadership to assess performance against key metrics. At minimum, DFCS should
focus its intranet and public folder to highlight only the prioritized reporting.


The consensus among some internal and external stakeholders is that DFCS has a significant
need to enhance its capacity to perform both basic and sophisticated data analysis, as it does
not have enough staff with the necessary analytical skills to perform this work. This work, of
course, is critical to providing high-level validation of data, to assessing the data to determine
whether performance is improving or declining, to determining whether DFCS is complying with
the MSA, and to identifying areas to focus improvement efforts. Both MDHS and DFCS indicate
that they perform some of this work as part of their CQI efforts, most notably the Evaluation
and Monitoring Unit and Foster Care Review Unit. All agree, however, that more capacity would
be valuable.

Again with a focus first on the prioritized, foundational reports, the agency should review its
existing Chapin Hall contract, scope of work, and deliverables, which have been focused on
performance-based contracting, to determine whether the existing scope of work includes
longitudinal data analysis that DFCS could use for these purposes or whether it could be
expanded to provide that analysis. DFCS should enhance the existing data reporting unit by
allocating a handful of positions (three to five to start) and recruiting strong candidates to fill
those positions.


It is critical Mississippi reach a final determination about the approach to replace MACWIS, and
implement an Information Technology Governance Structure. The Department is more than a
year into a process to replace its current child welfare system of record, MACWIS, with a new
system. The State has hired an Independent Verification and Validation vendor to assist with
the definition of requirements and the preparation of necessary documents to submit to the
federal Administration for Children & Families (ACF) to participate in the Statewide Automated
Child Welfare Information System (SACWIS) program, which would provide enhanced federal
funds to cover 50 percent of the development costs of a new system. Within the last few
months, however, the federal government issued a proposed regulation that would, if adopted,
significantly modify the SACWIS program, reducing and changing the federal requirements and
renaming it the Comprehensive Child Welfare Information Systems (CCWIS) program. As a
result, there is some uncertainty regarding the ultimate requirements that MDHS will be held to
i n order to receive federal funds. There also appears to be uncertainty within MDHS and DFCS
about the agreed-upon, approach. DFCS continues to march down a traditional SACWIS path,
having identified approximately 2,000 requirements for the new system, with an eye toward
seeking CCWIS compliance if the proposed regulation is adopted. Other internal stakeholders
i ndicated that they have not yet been convinced that a transition from MACWIS is even

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necessary, as the possibility remains that MACWIS could be upgraded to meet DFCS' needs.
And still other stakeholders raised the possibility that the agency should replace the system but
not participate in the SACWIS/CCWIS program at all, foregoing the FFP in order to avoid the
constraints and uncertainty of participation in favor of a lower-cost system that could be
i mplemented more quickly.


Given this context, it is incumbent upon the State to reach a final decision regarding whether,
and if so how, to replace MACWIS. This decision should consider the functional needs of the
agency, both for purposes of serving children and families and compliance with the MSA, the
total cost of projected systems that would meet those requirements, the time frame to
i mplementation, and the need for FFP weighed against the uncertainty and transaction costs of
participating in the SACWIS/CCWIS program, among other relevant factors. This decision should
be made by the DFCS Executive Director and senior leadership, with due consideration of the
views from all MDHS and DFCS information technology and programmatic leadership.16


MDHS and DFCS must assess the existing technical resources within MDHS MIS to identify those
that support DFCS. Those that can transition — likely including the team currently supporting the
MACWIS application — should do so and become employees pledged fully to DFCS. For those
who have shared responsibility for DFCS and the rest of MDHS, the agency and DFCS leadership,
with the guidance of the Governor's Office, should identify the necessary IT services that the
Department will continue to provide to the new department and specify, through Service Level
Agreements, each of those services that will be provided, applicable response times, and any
other relevant requirements to minimize the impact of the separation and maintain or even
enhance the levels of service currently provided to DFCS. To the maximum extent possible, we
recommend DFCS emerge with its own IT services and rely on MDHS for only essential services
that cannot be otherwise extracted.




16 Regardless of this decision MDHS and DFCS should nonetheless continue to address the well-documented

connectivity and performance challenges with MACWIS raised by staff in the regions and to make any
enhancements required by the recommendations included in this assessment. Beyond that, however, MDHS and
DFCS should reduce expenditures on MACWIS accordingly.

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                                     Appendix A. Selected Findings from Periods 3 and 4 Monitor's Reports

                                                                       Period 3(P3)             Period (P4)             Select Monitor's Report
  Citation                   MSA Requirement
                                                                       Performance             Performance                     Comments
                                                                   Carve-out counties      Carve-out counties
                  MSA requires by the end of P4 (P3), at
                                                                   excluded, but data      could not be excluded
                  least 85%(75%) of caseworkers shall carry
                                                                   only available for      due to how data were
 MSA              caseload that does not exceed MSA
                                                                   dedicated caseloads     submitted
 II.A.2.a.1 &     requirements. No more than 5%(10%)of
 II.A.2.a.10.a    caseworkers shall carry a caseload
                                                                   •79% not exceeding      •61% not exceeding
(P4)or            exceeding twice the MSA requirements,
                                                                   MSA requirements        MSA requirements
 II.A.2.a.9.a     and none shall carry a caseload exceeding
                                                                   •8% exceeding 2x        • 7% exceeding 2x
(P3)              3x the MSA requirements. Hancock,
                                                                   MSA requirements        MSA requirements
                  Harrison, Hinds, and Jackson Counties are
                                                                   •0% exceeding 3x        •3% exceeding 3x
                  exempt during P3 & 4.
                                                                   MSA requirements        MSA requirements
                  MSA requires by the end of P3[and
 MSA                                                                                                               Requirement not satisfied during
                  thereafter], no more than 10% of                                         Excluding carve-out
 II.A.2.a.6 &
                  supervisors shall be responsible for                                     counties: 13%           either period. Significant issue, data
 II.A.2.a.10.b                                                     Excluding carve-out
                  directly supervising more than five                                                              also indicates that during P3,
(P4) or                                                            counties: 16.8%
                  caseworkers. Hancock, Harrison, Hinds,                                   Including carve-out     defendants lost 17 more supervisors
 II.A.2.a.9.b
                  and Jackson Counties are exempt during                                   counties: 19%           than they hired.
(P3)
                  P4.
                  MSA requires by the end of P3,
 MSA
                  caseworkers shall have access to a               Requirement satisfied
 II.A.2.a.9.c
                  supervisor 24 hours a day.
                  MSA requires that supervisors will not be
                  assigned primary responsibility for
                                                                                                                   Defendants failed to report on this
 MSA              providing direct casework for any cases,
                                                                                                                   requirement during P3, could not
 II.A.2.a.9.d     unless under the extenuating
                                                                                                                   produce accurate data.
                  circumstances exception as described
                  above.
                  MSA requires that by the end of P3[and                                                           DFCS also allows non-supervisory
 MSA
                  thereafter] all new caseworkers and                                                              staff to complete the caseworker
 II.A.2.c.2,                                                       Caseworkers: 100%       Caseworkers: 100%
                  supervisors will complete their pre-service                                                      supervisory training and serve in an
 II.A.2.c.3 &                                                      Supervisors: 100%       Supervisors: 100%
                  training consistent with MSA                                                                     acting capacity as casework
 II.A.2.c.6.b
                  Requirements.                                                                                    supervisors.
                  MSA requires that by the end of P4 all
                  caseworkers shall receive a minimum of
 MSA
                  40 hours of structured ongoing in-service                                Caseworkers: 94%
 II.A.2.c.4 &
                  training each year, and all supervisors                                  Supervisors: 100%
 II.A.2.c.7.a
                  shall receive a minimum of 24 hours of
                  ongoing in-service training each year.
                  MSA requires by the end of P3,
                  defendants shall establish and maintain a                                                        Defendants have established a viable
                  Training Unit, headed by a qualified                                                             unit and significantly improved the
 MSA              director of training, with sufficient staffing                                                   in-service training program.
                                                                   Requirement satisfied
 II.A.2.c.6.a     and resources to provide or contract for                                                         Additional progress needed in regard
                  the provision of comprehensive child                                                             to monitoring and tracking staff
                  welfare pre-service and in-service training                                                      participation in training.
                  to all caseworkers and supervisors.
                   MSA requires by the end of P3, the in-                                                          Training curriculum has been
                  service training curriculum for                                                                  developed and implemented.
 MSA
                  caseworkers and supervisors will be              Requirement satisfied                           Defendants must improve tracking
 II.A.2.c.6.c
                  developed and in-service training will                                                           whether staff have satisfied training
                  have been initiated.                                                                             requirements.




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                                                                    Period 3(P3)               Period (P4)         Select Monitor's Report
 Citation                  MSA Requirement
                                                                    Performance               Performance                 Comments
                 MSA requires that supervisory personnel
MSA             will not be detailed from the field to                                                       There is no current evidence of this
                                                                                          Not satisfied
II.A.2.c.7.b     provide the required pre-service and in-                                                    practice which was once widespread.
                service training.
                 MSA requires by the end of P3, all
                therapeutic resource parents who have
                one or more foster children residing in the
                 home shall be visited in the home at least
                once per month by their private agency
                caseworker. These visits shall be in
                addition to the monthly home visit              The Monitor's
                conducted by DFCS. Beginning in P3, all         preliminary review of
                contracts executed between Defendants           these documents
                and private agencies that provide               identified limitations
MSA             services to foster children shall require       in some of the
II.A.2.d.2.a    that the private caseworker (1) share all       contracts, which the
                 relevant and legally disclosable               monitor intends to
                 information concerning the foster child;       discuss and resolve
                (2) evaluate the foster child's safety,         with the parties in the
                 needs, and well-being; and (3) monitor         near future.
                service delivery and the achievement of
                service goals. DFCS shall require that such
                visits occur, that they are documented in
                the child's case record, and that remedial
                action is taken if such visits are not taking
                 place.
                 MSA requires that beginning in P3, all
                contracts executed between Defendants
                 and private agencies that provide
                 protective, preventive, foster care, or
                 adoption case work services shall require
                the contract agencies to abide by all
                 related terms of the MSA,including, but        A review of contracts
                 not limited to, provisions regarding           indicates that the
                training curricula, minimum training            terminology identified
                 hours, and caseload standards, with the        to satisfy the
MSA             exception that contract agency                  requirements of this
II.A.2.d.2.b    caseworkers shall not be required to            subsection does not
                 undertake the hours of pre-service             require the contract
                training required of DFCS caseworkers           agencies to abide by
                that pertain to MACWIS instruction and          all related terms of
                 DFCS-specific workplace procedures. The        the MSA.
                training requirement of the Modified
                Settlement Agreement shall apply only to
                contract agency caseworkers and B8
                supervisors responsible for making case
                 planning decisions and/or
                 recommendations.




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                                                                Period 3(P3)       Period (P4)          Select Monitor's Report
 Citation                 MSA Requirement
                                                                Performance        Performance                 Comments
               MSA requires that the foster care review
               instrument shall be revised to include
               reviews for all children placed in
                                                                                                   The foster care review instrument
               therapeutic settings. Identified concerns
                                                                                                   was not appropriately modified
               shall be documented and provided to the
                                                                                                   during P4. The instrument does not
MSA            Regional Director who oversees the
                                                                               Not satisfied       focus on the required assessment of
II.A.5.d.1     county of responsibility for that child. No
                                                                                                   each child in therapeutic placement
               child shall remain or be placed in a
                                                                                                   in the manner contemplated by this
               therapeutic placement where a foster
                                                                                                   requirement.
               care reviewer has identified concerns,
               unless a remediation plan is being
               implemented.
               MSA requires that all licensed resource
               families (regardless of whether they are
                                                                                                   Two data reports were produced for
               supervised directly by DFCS or by private
MSA                                                                                                this requirement, however only one
               providers) receive at least the minimum                         98%
II.A.7.a                                                                                           of the reports was analyzable by the
               reimbursement rate for a given level of
                                                                                                   monitors.
               service as established pursuant to the
               MSA.
               MSA requires by the end of P3[and
               thereafter], upon receipt of a report of
               child maltreatment in a group home,
               emergency shelter, or private child
MSA
               placing agency, DFCS shall undertake an
11.13.1.b &                                                  No finding        100%
               investigation that is in addition to, and
II.13.1.e.6
               independent of, any child protective
               investigation to determine the contract
               provider's compliance with DFCS licensure
               standards.
                                                                                                   The MIC review process was not fully
                                                                                                   implemented as required during P4.
                                                                                                   The defendants failed to review all
                                                                                                   investigations involving children in
               MSA requires within 30 days of the
                                                                                                   custody and failed to implement
               completion of any investigation of
                                                                               98%                 timely corrective action. As of
MSA            maltreatment of a child in custody, DFCS
                                                                                                   6/30/14 there were 150 corrective
11.8.1.d       shall review the maltreatment
                                                                               Satisfied in Part   actions identified through the MIC
               investigation in the manner set forth in
                                                                                                   review process that were overdue. It
               the MSA.
                                                                                                   should be noted, the defendants
                                                                                                   made significant progress on this
                                                                                                   during P5, at the end of which, 10
                                                                                                   corrective actions were overdue.
               MSA requires within 30 days of the
               completion of any investigation of
               maltreatment of a child in custody, DFCS                                            Requirement not satisfied in either
               shall review the maltreatment                                                       period. Quality of investigations is
MSA            investigation in the manner set forth in                                            also a concern. Monitor expects to
                                                             36%               56%
11.13.1.e.2    the MSA. MSA requires by end of P3[and                                              conduct a systemic evaluation and
               thereafter], 100% of maltreatment                                                   report on defendants' more recent
               investigations shall be initiated within 24                                         progress in a forthcoming report.
               hours and completed with supervisory
               approval within 30 days.




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                                                                     Period 3(P3)           Period (P4)            Select Monitor's Report
  Citation                   MSA Requirement
                                                                     Performance           Performance                    Comments
                 MSA requires by end of P3[and
                 thereafter], 100% of children who remain
                 in the same out of home placement                                                            Requirement not satisfied in either
                 following an investigation of                                                                period. This requirement is
MSA
                 maltreatment or corporal punishment in           87.50%                75%                   fundamental to ensuring the safety
11.13.1.e.3
                 that placement shall be visited by                                                           of children in custody. Performance
                 caseworker two times per month for                                                           decreased from P3 to P4.
                 three months after the conclusion of the
                 investigation.
                                                                                                              Defendants did not produce all
                 MSA requires that when a maltreatment
                                                                                                              investigative reports in a timely
                 investigation involves a resource home,
                                                                                                              manner and the Monitor did not
                 DFCS shall file a copy of the approved
MSA                                                                                                           have the opportunity to evaluate.
                 final investigative report in the case           No finding            No finding
11.13.1.e.4                                                                                                   Parties agreed to measure
                 record of the foster child, in the file of the
                                                                                                              performance for this requirement
                 foster or adoptive parents, and in the
                                                                                                              through a case record review to be
                 DFCS state office.
                                                                                                              conducted during P6.
                  MSA requires that when a maltreatment
                 investigation involves an agency group
                  home, emergency shelter, private child
                                                                                                              Parties agreed to measure
                  placing agency resource home, or other
MSA                                                                                                           performance for this requirement
                 facility licensed by DFCS, a copy of the         No finding            No finding
11.8.1.e.5                                                                                                    through a case record review to be
                 final investigative report shall be filed in
                                                                                                              conducted during P6.
                 the child's case record, in the DFCS State
                 Office licensing file, and sent to the
                  licensed provider facility.
                  MSA requires that for investigations of
                 agency group homes, emergency shelters,
                 and private child placing agency resource
MSA
                  homes, DFCS shall undertake a separate                                100%
11.13.1.e.6
                  investigation of the contract provider's
                 compliance with DFCS licensure
                 standards.
                  MSA requires by the end of P3[and
                 thereafter], 100% of children shall be
                                                                  90%,471 children in   93%,482 children in
MSA               placed or remain in a foster care setting
                                                                  placements that do    placements that do
11.8.2.a,        that meets licensure standards consistent
                                                                  not meet licensure    not meet licensure
11.8.2.p.2        with MSA requirements, unless so
                                                                  standards             standards
                 ordered by the Youth Court over DFCS
                 objection.
                  MSA requires that by the end of P3,60%
MSA              of children with special needs shall be                                                      Data provided is limited to children
11.13.2.e &       matched with placement resources that           45%                                         with diagnosed developmental
11.13.2.p.11     can meet their therapeutic and medical                                                       and/or mental health disparities.
                  needs.
 MSA 11.B.2.f     MSA requires by the end of P4 (P3),85%                                                      Requirement not satisfied — data the
& 11.8.2.q.7     (75%)of children in custody shall be                                                         defendants used to track this
(P4) or           placed in the least restrictive setting that    97%                   96%                   requirement did not address the full
 11.8.2.p.12      meets their individual needs, consistent                                                    requirement. Revisions were made
(p3)              with MSA requirements.                                                                      in October 2014, after the end of P4.




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                                                                   Period 3(P3)          Period (P4)          Select Monitor's Report
  Citation                  MSA Requirement
                                                                   Performance          Performance                  Comments
                 MSA requires that by the end of P4(P3),
 MSA             at least 90%(85%) of children who
                                                               Excluding sibling    Excluding sibling
 11.13.2.g &     entered DFCS custody shall be placed
                                                               exception: 94%       exception: 95%
 11.8.2.q.11     within his/her own county or within 50
(P4) or          miles of the home from which he/she was
                                                               Including sibling    I ncluding sibling
 11.13.2.p.16    removed unless one of the exceptions
                                                               exception: 98%       exception: 99%
(P3)             provided in the MSA is documented as
                 applying.
 MSA
 11.B.2.h &       MSA requires by the end of P4 (P3),90%
 11.B.2.q.8      (80%)of siblings who entered custody at
                                                               85%                  75%
(P4) or          or near the same time be placed together
 11.13.2.p.13    consistent with MSA requirement.
(P3)
                  MSA requires by the end of P4(P3), 60%
                 (40%)of children placed in a new
 MSA II.B.2.i     placement during the period shall have
                                                                                                         Data provided assesses whether
& 11.8.2.q.9     their currently available medical, dental,
                                                                                                         information is available within 15
(P4) or           educational, and psychological               19%                  20%
                                                                                                         days of placement not at the time of
 II.B.2.p.14      information provided to their resource
                                                                                                         placement.
(P3)              parents or facility staff no later than at
                 the time of any new placement during the
                  period.
                  MSA requires that by the end of P3, at
                                                                                                         Data provided do not address this
                  least 35% of children in DFCS custody with
                                                                                                         precise requirement. Instead, data
                  a documented indication that they were
MSA 11.6.2.j                                                                                             assesses whether DFCS took all
                  to be subject to a potential or actual
&                                                              62%                                       reasonable steps to avoid placement
                  placement disruption during the Period
11.13.2.p.15                                                                                             disruption and ensure stability in
                  shall receive a meeting to address
                                                                                                         placements identified at risk of
                  placement stability consistent with MSA
                                                                                                         disruption.
                  requirements.
                  MSA requires by end of P3[and
                  thereafter], no foster children shall
 MSA              remain in an emergency or temporary
 11.8.2.k &      facility for more than 45 days unless         24 children          17 children
 11.8.2.p.8       exceptional circumstances and Field
                  Operations Director has granted express
                  written approval.
                  MSA requires that sibling groups in which
                  one or more of the siblings are under the
 MSA
                  age of 10 shall not be placed in             13 sibling groups    17 sibling groups
 11.6.2.m
                  congregate care settings for more than 45
                  days.
 MSA             MSA requires by end of P4(P3), no (no
 11.8.2.m &      more than 40) children under 10 placed in
 11.13.2.q.2     congregate care unless exceptional needs      11 children          50 children
(P4) or (P3)     and/or sibling group member and express
 11.13.2.p.6     written approval by Regional Director.
                 MSA requires that all foster care settings,
                 including relative placements, shall be                                                 Due to limitations in data, parties
 MSA
                 screened prior to the initial placement of                         No finding           agreed that the defendants would
 11.6.2.p.1
                 foster children in accordance with this                                                 not report on this item for P4.
                 MSA.




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                                                                Period 3(P3)      Period (P4)          Select Monitor's Report
  Citation                 MSA Requirement
                                                                Performance       Performance                 Comments
                MSA requires that DFCS shall ensure that
                each county office has access to resource                                        Interviews with staff and supervisors
                workers within its region having the                                             in several regions indicate that there
MSA                                                                            Requirement not
                ability to ascertain the placement                                               are an insufficient number of
11.6.2.q.1                                                                     satisfied
                resources available and their suitability                                        resource workers and availability of
                for each particular child needing                                                appropriate placements is limited.
                placement.
                MSA requires that no child shall be placed
                in more than one emergency or
                temporary facility within one episode of
                                                                                                 Monitor was unable to assess
MSA             foster care, unless an immediate
                                                             No finding        No finding        performance for this requirement
II.B.2.q.3      placement move is necessary to protect
                                                                                                 due to data limitations.
                the safety of the child or of others as
                certified in writing by the Regional
                Director.
                MSA requires that no more than 10% of
                foster children shall be from his/her
                                                                                                 Due to data limitations, the parties
                existing placement to another foster
MSA                                                                                              agreed this performance
                placement unless DFCS specifically                             No finding
11.6.2.q.4                                                                                       requirement will be assessed
                documents in the child's case record
                                                                                                 through a case record review.
                justifications for that move and the move
                is approved by a DFCS supervisor.
                MSA requires that no more than 20% of                                            The defendants submitted data for
MSA             resource homes shall provide care to a                                           this requirement, however due to
                                                                               No finding
II.B.2.q.5      number of children in excess of the MSA                                          significant limitations, the monitors
                resource home population limitations.                                            were unable to analyze the data.
                MSA requires that at least 85% of children
                                                                                                 Parties agreed that performance will
MSA             with special needs shall be matched with
                                                                               No finding        be measured in a prospective case
II.B.2.q.6      placement resources that can meet their
                                                                                                 record review.
                therapeutic and medical needs.
                MSA requires that at least 60% of children
                in DFCS custody with a documented
                indication that they were subject to an                                          The monitor was unable to analyze
MSA
                actual placement during the Period shall                       No finding        the data submitted by the
II.B.2.q.10
                receive a meeting to address placement                                           defendants.
                stability consistent with MSA
                requirements.
                MSA requires that at least 90% of the
                                                                                                 No data has been produced. The
                foster children in that region who enter
MSA                                                                                              monitor expects to finalize with the
                custody or experience a placement
11.B.2.s.1 &                                                                   No finding        parties a plan related to ongoing
                change shall be placed in accordance with
11.6.2.t.1                                                                                       collection and reporting of these
                each of the child placement requirements
                                                                                                 data.
                of Section 1113.2.
                                                                                                 Data produced only reports on
                                                                                                 timeliness of initial health screening
                 MSA requires by the end of P4 (P3), 70%
 MSA                                                                                             evaluation not whether they were
                (50%)of children entering custody receive
 11.6.2.a &                                                                                      conducted by a qualified medical
                 a health screening evaluation as
 11.6.3.j.1                                                                                      practitioner or in accordance with
                 recommended by American Academy of          28%               27%
(P4)or                                                                                           recommendations by the American
                 Pediatrics from a qualified medical
 11.6.311                                                                                        Academy of Pediatrics. A case
                 practitioner within 72 hours after
(P3)                                                                                             record review was conducted during
                 placement.
                                                                                                 P5 and will be presented in a
                                                                                                 forthcoming report.




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                                                                      Period 3(P3)       Period (P4)        Select Monitor's Report
  Citation                   MSA Requirement
                                                                      Performance       Performance                 Comments
                                                                                                       Data produced only reports on
                                                                                                       timeliness of initial health screening
 MSA
                  MSA requires by the end of P4(P3), 70%                                               evaluation not whether the
 11.13.3.b &
                 (50%)of children entering custody receive                                             assessment was consistent with
 11.8.3.j.2
                  a comprehensive health assessment              34%                 33%               recommendations by the American
(P4)or
                  within 30 calendar days consistent with                                              Academy of Pediatrics. A case
 1 1.13.3.1.2
                  MSA requirement.                                                                     record review was conducted during
(P3)
                                                                                                       P5 and will be presented in a
                                                                                                       forthcoming report.
                  MSA requires by the end of P3,75% of
                  children in custody shall receive periodic                                           The Monitor has concerns over
 MSA
                  medical examinations and all medically                                               reliability of the data. The
 11.8.3.d &                                                      63%
                  necessary follow-up services and                                                     requirement will be addressed in a
 1 1.13.3.1.3
                 treatment, consistent with MSA                                                        special case review.
                  requirements.
                  MSA requires by the end of P4(P3), 75%
 MSA                                                                                                   Due to data limitations, the parties
                 (60%)of children three years old and
 11.8.3.e &                                                                                            agreed this performance
                  older entering custody or in care and
 1 1.13.3.j.4                                                                                          requirement will be assessed
                 turning three years old during the period       49%                 55%
(P4) or                                                                                                through a P5 case record review.
                 shall receive a dental examination within
 11.13.3.1.4                                                                                           Findings will be presented in a
                 90 days of placement or their third
(P3)                                                                                                   forthcoming report.
                  birthday.
 MSA              MSA requires that by the end of P4(P3),                                              Due to data limitations, the parties
 11.8.3.e &       at least 80%(60%) of children in custody                                             agreed this performance
 11.13.3.j.5      during the period shall receive a dental                                             requirement will be assessed
                                                                 54%                 52%
(P4) or          examination every six months consistent                                               through a P5 case record review.
 11.13.3.i.5      with MSA requirements and all medically                                              Findings will be presented in a
(P3)              necessary dental services.                                                           forthcoming report.
                  MSA requires that by the end of P4(P3) at
                                                                                                        Data limited to children age 4+ when
                  least 70%(50%) of children four years old
                                                                                                        entering care, does not include
 MSA 11.B.3.f     and older entering custody during the
                                                                                                        children who turned 4 while in care.
& 11.13.3.j.6     period or in care and turning four years
                                                                                                        Due to this limitation, the parties
(P4) or           old during the period shall receive mental     49%                 47%
                                                                                                        agreed that performance would be
 11.13.3.1.6      health assessment by a qualified
                                                                                                        assessed through a P5 case record
(P3)              professional within 30 calendar days of
                                                                                                        review. Findings will be presented in
                 foster care placement or their fourth
                                                                                                        a forthcoming report.
                  birthday, respectively.
                  MSA requires by the end of P3, 30% of
                  children ages birth through three, and
 MSA
                  older children if warranted, shall receive a
 11.8.3.g &                                                      7%
                  developmental assessment by a qualified
 11.6.3.1.8
                  professional within 30 days of placement
                  and all needed developmental services.
                                                                                                        Parties agreed to measure
                 MSA requires that at least 85% of children
                                                                                                        performance for this requirement
                 in custody during the period shall receive
                                                                                                        through a P5 case record review.
 MSA             periodic medical examinations and all
                                                                                     No finding         Findings from the case record review
 11.13.3.j.3     medically necessary follow-up services
                                                                                                        will be presented in a forthcoming
                 and treatment consistent with MSA
                                                                                                        report — however, data indicates that
                 requirements.
                                                                                                        the requirement was not met.
                  MSA requires that at least 80% of children
 MSA                                                                                                    Parties agreed that defendants
                  who received a mental health assessment
 11.13.3.j.7                                                                                            performance relative to this
                 d uring the period shall receive all
(P4) or                                                          No finding          No finding         requirement would be measured
                 recommended mental health services
 11.13.317                                                                                              through a case record review
                  pursuant to their assessment.
(P3)                                                                                                    conducted during P5.
                 (Requirement for P3 was 70%)


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                                                                   Period 3(P3)       Period (P4)         Select Monitor's Report
  Citation                  MSA Requirement
                                                                   Performance       Performance                 Comments
                 MSA requires that at least 60% of children
                 in custody ages birth through three during
                                                                                                    Monitor has concerns over reliability
 MSA             the period, and older children if factors
                                                                                                    of P3 data. Parties agreed that
 11.8.3.j.8      indicate it is warranted, shall receive a
                                                                                                    defendants performance relative to
(P4) or          developmental assessment by a qualified      7%                  No finding
                                                                                                    this requirement would be measured
 11.8.3.1.8      professional within 30 calendar days of
                                                                                                    through a case record review
(P3)             foster care placement and all needed
                                                                                                    conducted during P5.
                 developmental services.(P3 standard
                 30%)
                 MSA requires that at least 80% of foster
                 children in that region who enter custody
                 shall receive physical and mental health
                                                                                                    The monitor plans to work with the
MSA              care in accordance with each of the MSAs.
                                                                                                    parties to resolve how performance
11.13.3.1.1 &    At least 90% of foster children in that                          No finding
                                                                                                    related to these requirements will be
11.8.3.m.1       region who enter custody shall receive
                                                                                                    measured.
                 physical and mental health care in
                 accordance with each of the MSA
                 requirements.
                 MSA requires that at least 80% of children
                 in custody during the period requiring
                                                                                                    Parties agreed that defendants
                 therapeutic and/or rehabilitative foster
                                                                                                    performance relative to this
MSA              care services because of a diagnosis of
                                                                                  No finding        requirement would be measured
11.13.4.c.1      significant medical, developmental,
                                                                                                    through a case record review
                 emotional, or behavioral problems shall
                                                                                                    conducted during P5.
                 be provided with a treatment plan and
                 services in accordance with their plan.
                 MSA requires that by the end of P3,60%                                             Data provided do not include
                 of children requiring therapeutic and/or                                           children with significant medical
                 rehabilitative services because of a                                               problems. Additionally, the Monitor
MSA
                 diagnosis of significant medical,                                                  has concerns over reliability of the
11.13.4.a &                                                   66%
                 developmental, emotional, or behavioral                                            data. Parties agreed that
11.13.4.b.1
                 problems shall be provided with a                                                  defendants' performance relative to
                 treatment plan and services in accordance                                          this requirement would be measured
                 with their plan.                                                                   through a case record review.




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                                                                   Period 3(P3)              Period (P4)              Select Monitor's Report
  Citation                  MSA Requirement
                                                                   Performance              Performance                      Comments
                 Practice Model: For regions that have
                 fully implemented the practice model, at
                 least 80% of the foster children in that
                 region who are in custody in require
                 therapeutic and/or rehabilitative foster
                 care services because of a diagnosis of
                 significant medical, developmental,
                 emotional or behavioral problems shall be
                                                               Region V-W - 100%
                 provided with a treatment plan and
                                                               Region 111-S - 53%
                 services during that period in accordance                                                       Parties agreed that defendants
                                                               Region I-N - 47%
MSA              with their plan.                                                                                performance relative to this
                                                               Region IV-N - 84%
11.6.4.e.1 &                                                                            No finding               requirement would be measured
                                                               Region IV-S - 81%
11.6.4.f.1       For regions that have fully implemented                                                         through a case record review
                 the practice model for at least 12 months,                                                      conducted during P5.
                                                               Region I-S - 72%
                 at least 90% of the foster children in that
                                                               Region II-W - 46%
                 region who are in custody in require
                 therapeutic and/or rehabilitative foster
                 care services because of a diagnosis of
                 significant medical, developmental,
                 emotional or behavioral problems shall be
                 provided with a treatment plan and
                 services during that period in accordance
                 with their plan.
 MSA
                  MSA requires by the end of P4(P3), 80%
 11.6.5.a &
                 (60%)of children shall receive                                                                  Data provided does not address if
 11.6.5.f.1
                  documented twice-monthly in-person           53%                      67%                      the child was seen alone if age
(P4) or
                  visits by the assigned caseworker                                                              appropriate, only if visits occurred.
 11.6.5.e.1
                 consistent with MSA requirement.
(P3)
                  MSA requires by end of P4(P3), 60%
 MSA             (40%)of children with a goal of
 11.6.5.b &       reunification shall have their assigned
 11.6.5.f.2       DFCS caseworker meet monthly with the        Accurate data not
                                                                                        38%
(P4) or           child's parents, during the period,          available
 11.6.5.e.2       consistent with MSA requirements, and
(P3)             the visit shall be documented in the case
                  record.
                  MSA requires by the end of P4(P3),60%
 MSA 11.6.5.c    (40%)of therapeutic resource parents
& 11.13.5.f.3     have a worker visit the home monthly to
                                                               70% content and          73% content and
(P4) or          share relevant information, evaluate the
                                                               frequency of visit       frequency of visit
 11.13.5.e.3      child's safety, needs, and well-being, and
(P3)              m onitor service delivery and achievement
                  of service goals.
                  MSA requires by the end of P4,60% of
 MSA 11.6.5.c     non-therapeutic resource parents have a
                                                               45% frequency of visit   49% frequency of visit
& 11.13.5.f.3     worker visit the home monthly to share
(P4) or           relevant information, evaluate the child's
                                                               70% content and          70% content and
 11.13.5.e.3     safety, needs, and well-being, and
                                                               frequency of visit       frequency of visit
(P3)              m onitor service delivery and achievement
                 of service goals.




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                                                                  Period 3(P3)         Period (P4)           Select Monitor's Report
 Citation                   MSA Requirement
                                                                  Performance          Performance                  Comments
                 Practice Model: For regions that have fully
                 implemented the practice model, at least
                 70% of children in custody in that region
                 shall have received documented twice-
                                                                                    Region IV-S — 75%
                 monthly in-person visits by the assigned      Region V-W - 66%
                                                                                    Region V-E — 66%
                 DFCS caseworker during the preceding 12-      Region III-S - 45%
                                                                                    Region III-S — 44%
                 month period, consistent with MSA             Region I-N - 70%
MSA                                                                                 Region I-N — 68%
                 requirements.                                 Region IV-N - 65%
11.13.5.h.1 &                                                                       Region IV-N — 65%
                                                               Region IV-S - 75%
II.B.5.i.1
                 For regions that have fully implemented
                                                                                    Region I-S — 85%
                 the practice model for at least 12 months,    Region I-S - 86%
                                                                                    Region II-W — 75%
                 at least 90% of foster children in custody    Region II-W - 79%
                                                                                    Region V-W — 64%
                 in that region shall receive documented
                 twice-monthly in-person visits by the
                 assigned DFCS caseworker, consistent
                 with MSA requirements.
                 Practice Model: For regions that have fully
                 implemented the practice model, at least
                 80% of children in that region with a goal
                 of reunification shall have had their
                 assigned DFCS caseworker meet monthly
                 with the child's biological parent(s) with
                                                               Region V-W - 33%
                 whom the child is to be reunified                                                       P4 - Monitor was only able to
                                                               Region III-S - 22%
                 consistent with the MSA requirements, as                                                analyze data in one of the five
                                                               Region I-N - 27%
MSA              documented in the child's case record.                             Region V-E — 42%     regions that fully implemented the
                                                               Region IV-N - 44%
11.6.5.h.2 &                                                                                             practice model, and in one of the
                                                               Region IV-S - 26%
II.B.5.1.2       For regions that have fully implemented                            Region V-W —41%      three regions that had fully
                 the practice model for at least 12 months,                                              implemented the practice model for
                                                               Region I-S - 62%
                 at least 90% offoster children in that                                                  at least 12 months.
                                                               Region II-W - 45%
                 region with a goal of reunification shall
                 have their assigned DFCS caseworker
                 meet monthly with the child's parent(s)
                 with whom the child is to be reunified,
                 consistent with MSA requirements, as
                 documented in the child's case record.
                 Practice Model: For regions that have fully                        Region III-S — 32%
                 implemented the practice model, at least                           (MACWIS),60%(PAD)
                 80% of foster parents in that region with                          Region I-V — 43%
                 at least one foster child residing in their                        (MACWIS),71%(PAD)
                 home during the preceding 12-month                                 Region IV-N — 68%
                 period shall have had a DFCS worker visit                          (MACWIS),94%(PAD)
                 the home monthly, consistent with MSA                              Region IV-S — 67%
                 requirements, as documented in the                                 (MACWIS),73%(PAD)
MSA
                 children's case records.                                           Region V-E — 63%
11.13.5.h.3 &
                                                                                    (MACWIS),90%(PAD)
II.B.5.i.3
                 For regions that have fully implemented
                 the practice model for at least 12 months,                          Region I-S — 80%
                 at least 90% of resource parents in that                           (MACWIS),97%(PAD)
                 region with at least one foster child                               Region II-W — 87%
                 residing in their home shall have a DFCS                           (MACWIS),77%(PAD)
                 worker visit the home monthly, consistent                           Region V-W — 43%
                 with MSA requirements, as documented                               (MACWIS),100%
                 in the children's case records.                                    (PAD)




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                                                                 Period 3(P3)        Period (P4)             Select Monitor's Report
 Citation                 MSA Requirement
                                                                 Performance        Performance                       Comments
               MSA requires that defendants shall hold                                                  Defendants report that this
MSA            training sessions for DFCS' Training Unit                                                requirement was satisfied. However,
                                                                                No finding
11.6.6.b.1     Staff on the Permanency Values Training                                                  the monitor had no opportunity to
               and Permanency Skills Training Curricula.                                                verify this representation.
                                                                                                        By P3, 10 of 13 regions had
               MSA requires that defendants shall
MSA                                                                                                     implemented permanency
               conduct permanency roundtables in three                          Requirement Satisfied
II.B.6.b.2                                                                                              roundtables. By P4, 13 of 13 had
               additional regions.
                                                                                                        implemented.
               MSA requires that defendants shall                                                       DFCS policy during P4 required the
               m aintain a process for advising all                                                     assigned adoption specialist to
               potential adoptive families, including any                                               inform resource families of the
               resource family caring for a child who has                                               possibility of adoption assistance for
MSA
               become legally available for adoption, of                        Satisfied in Part       eligible children; however policy did
II B 7 b
               the availability of adoption subsidies. This                                             not require that this be documented
               notification shall be documented in the                                                  in the case record. P5 IP required a
               child's record, and the family's access to                                               revision to DFCS policy to make
               such subsidies shall be facilitated.                                                     documentation required.
               Practice Model: For regions that have fully
               i mplemented the practice model, at least
               90% of children in custody in that region
               with the primary permanency goal of
               adoption shall have an assigned adoption
               specialist and an adoption plan with                                                     Defendants have been unable to
               specific activities to achieve adoption, and                                             report on their performance relative
               shall have regular adoption status                                                       to this requirement. Defendants
               meetings consistent with the MSA                                                         indicated they planned to submit a
MSA            requirements during the period.                                                          data report to the monitor by May
11.6.7.d &                                                    No finding        No finding              31, 2015; however as of June 12,
II.B.7.e       For regions that have fully implemented                                                  2015 no report has been submitted.
               the practice model for at least 12 months,                                               The parties agreed to a case record
               at least 95% of children in custody in that                                              review for the sections of the
               region with the primary permanency goal                                                  requirement that would not be
               of adoption shall have an assigned                                                       covered in the data report.
               adoption specialist and an adoption plan
               with specific activities to achieve
               adoption, and shall receive regular
               adoption status meetings consistent with
               MSA requirements during the Period.
MSA            MSA requires by the end of P4 (P3), at
II.C.1.a &     least 75%(60%) of children state-wide in
 II.C.1.c.1    care less than 12 months from the time of      77%               79%
(P4) or(P3)    latest removal from home shall have had
 II.C.1.b.1    two or fewer placements.
 MSA
 II.C.2.a &
               MSA requires that by the end of P4(P3),                                                  Defendants are still working to
 II.C.2.c.1                                                                     No revised data
               the rate of abuse or maltreatment in are       0.98%                                     resolve technical issues regarding the
(P4) or                                                                         submitted
               shall not exceed 0.5%(1.00%).                                                            production of revised reports.
 II.C.2.b.1
(P3)




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                                                                   Period 3(P3)              Period (P4)              Select Monitor's Report
 Citation                    MSA Requirement
                                                                   Performance              Performance                      Comments
                                                                                                                The CQI system has been utilized to
                  MSA requires that no later than the date
                                                                                                                measure compliance with the foster
                  set forth in Appendix "A" by which a
                                                                                                                care service standards of the MSA.
                  region shall have fully implemented the
                                                                                                                However,there are substantial gaps
                  Practice Model, the COI system shall
MSA                                                                                                             in performance for some MSA
                  measure compliance in that region with                                Satisfied in Part
III.A.1.a                                                                                                       requirements, and there is evidence
                  the foster care service standard
                                                                                                                that defendants have not fully
                  requirements of this MSA and shall
                                                                                                                implemented the corrective actions
                  ensure remediation of any identified
                                                                                                                designed to remediate deficiencies
                  deficiencies.
                                                                                                                identified through CQI activities.
                  Practice Model: For regions that have
                                                                                                                All caseworkers and supervisors
                  undergone the Initial Practice Model
                                                                                                                were required to participate in
MSA               I mplementation Period, all caseworkers
                                                                Requirement satisfied   Requirement satisfied   extensive initial training prior to
111.13.1.d.1      assigned to active cases, and their
                                                                                                                implementation of the practice
                  supervisors, will have undergone training
                                                                                                                model.
                  on the family team meeting protocols.
                                                                                        Region III-S — 32%
                                                                                        (MACWIS),60%(PAD)
                  Practice Model: For regions that have fully
                                                                                        Region I-N — 43%
                  implemented the Practice Model, at least
                                                                                        (MACWIS),71%(PAD)
                  80% of foster children in that region who
                                                                                        Region IV-N — 68%
                  enter custody shall have a thorough           Region V-W - data
                                                                                        (MACWIS),94%(PAD)
                  screening and assessment, consistent          unreliable
                                                                                        Region IV-S — 67%
                  with MSA requirements, within 30              Region III-S - 13%
                                                                                        (MACWIS),73%(PAD)
MSA               calendar days of entering custody.            Region I-N - 34%
                                                                                        Region V-E — 63%
111.13.1.e.1 &                                                  Region IV-N - 82%
                                                                                        (MACWIS),90%(PAD)
111.13.1.f.1      For regions that have fully implemented       Region IV-S - 73%
                  the Practice Model for at least 12 months,
                                                                                         Region I-S — 80%
                  at least 90% of foster children in that       Region I-S - 74%
                                                                                        (MACWIS),97%(PAD)
                  region who enter custody shall have a         Region II-W - 62%
                                                                                         Region II-W — 87%
                  comprehensive family assessment,
                                                                                        (MACWIS),77%(PAD)
                  consistent with MSA requirements, within
                                                                                         Region V-W — 43%
                  30 calendar days of entering custody.
                                                                                        (MACWIS), 100%
                                                                                        (PAD)
                  Practice Model: For regions that have fully
                  implemented the Practice Model, at least
                  80% of placement cases in that region in
                  which the whereabouts of one or both
                  parents is unknown, DFCS shall
                  immediately institute a diligent search for
                                                                                                                The Monitor had no finding during
                  the parent(s), which shall be documented
                                                                                                                P3 & P4 due to data limitations.
MSA               in the child's case record.
                                                                                                                Defendants were able to produce
111.13.1.e.2 &                                                  No finding              No finding
                                                                                                                data for this requirement in May
111.13.1.f.2      For regions that have fully implemented
                                                                                                                2015, covering October 2014-March
                  the Practice Model for at least 12 months,
                                                                                                                2015.
                  at least 90% of placement cases in that
                  region in which the whereabouts of one
                  or both parents is unknown, DFCS shall
                  immediately institute a diligent search for
                  the parent(s), which shall be documented
                  i n the child's case record.




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                                                                   Period 3(P3)           Period (P4)           Select Monitor's Report
  Citation                   MSA Requirement
                                                                   Performance           Performance                   Comments
                  Practice Model: For regions that have fully
                  implemented the Practice Model, at least
                  80% of foster children in that region who
                  enter custody shall have a family team
                  meeting and service plans shall be
                  developed for both the child and parents,
                  consistent with MSA requirements, within
                  30 calendar days of entry into Foster                                                     Parties agreed that defendants
MSA               Care.                                                                                     performance relative to this
111.6.2.c.1 &                                                   No finding            No finding            requirement would be measured
111.6.2.d.1       For regions that have fully implemented                                                   through a case record review
                  the Practice Model for at least 12 months,                                                conducted during P5.
                  at least 90% of foster children in that
                  region who enter custody shall have a
                  family team meeting and service plans
                  shall be developed for both the child and
                  the parents, consistent with MSA
                  requirements, within 30 calendar days of
                  entry into foster care.
                  Practice Model: For regions that have fully
                  i mplemented the Practice Model, at least
                  80% of foster children in that region who
                  enter custody shall have family team
                  meetings at least quarterly, as well as
                                                                                      Region III-S —5%
                  within 30 calendar days of any placement      Region V-W - 2%
                                                                                      Region I-N — 6%
                  or other significant change, consistent       Region III-S - 5%
                                                                                      Region IV-N —13%
                  with MSA requirements.                        Region I-N - 6%
MSA                                                                                   Region IV-S — 10%
                                                                Region IV-N - 13%
III.B.2.c.2 &                                                                         Region V-E — 22%
                  For regions that have fully implemented       Region IV-S - 10%
III.B.2.d.2
                  the Practice Model for at least 12 months,
                                                                                      Region I-S — 47%0
                  at least 90% of foster children in that       Region I-S - 33%
                                                                                      Region II-W ——%
                                                                                                    19
                  region who enter custody shall have           Region II-W - 19%
                                                                                      Region V-W 26%
                  family team meetings at least quarterly,
                  and their service plans shall be updated
                  q uarterly, as well as within 30 calendar
                  days of a placement change, consistent
                  with MSA requirements.
                                                                                       Region III-S — 28%
                  Practice Model: For regions that have fully    Region V-W - 57%     (MACWIS), 14%(PAD)
                  i mplemented the Practice Model, at least     (MACWIS), 36%(PAD)    Region I-N — 30%
                  90% of foster children in that region who      Region III-S - 26%   (MACWIS), 21%(PAD)
                  enter custody shall have a permanency         (MACWIS), 14%(PAD)    Region IV-N —38%
                  plan within 30 calendar days of their entry    Region I-N - 28%     (MACWIS),58%(PAD)
                  into care consistent with MSA                 (MACWIS), 21%(PAD)    Region IV-S — 17%
MSA
                  requirements.                                 Region IV-N - 36%     (MACWIS),44%(PAD)
I11.13.3.a.6.a
                                                                (MACWIS),58%(PAD)     Region V-E — 26%
&
                  For regions that have fully implemented       Region IV-S - 17%     (MACWIS), 26%(PAD)
III.B.3.a.7.a
                  the practice model for at least 12 months,    (MACWIS),44%(PAD)
                  at least 95% of foster children in that                             Region I-S — 77%
                  region who enter custody shall have a         Region I-S - 76%      (MACWIS),68%(PAD)
                  permanency plan within 30 calendar days       (MACWIS),68%(PAD)     Region II-W —75%
                  of their entry into care consistent with      Region II-W - 73%     (MACWIS),82%(PAD)
                  MSA requirements.                             (MACWIS),82%(PAD)     Region V-W — 51%
                                                                                      (MACWIS), 39%(PAD)




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                                                                  Period 3(P3)          Period (P4)          Select Monitor's Report
 Citation                   MSA Requirement
                                                                  Performance          Performance                  Comments
                 Practice Model: For regions that have fully
                 i mplemented the Practice Model, at least
                                                                                    Region III-S — 95%
                 90% of foster children in custody in that     Region V-W - 100%
                                                                                    Region I-N — 100%
                 region shall have a permanency plan that      Region III-S - 95%
                                                                                    Region IV-N — 93%
MSA              is consistent with MSA requirements.          Region I-N - 100%
                                                                                    Region IV-S-75%
111.6.3.a.6.b                                                  Region IV-N- 93%
                                                                                    Region V-E — 88%
&                For regions that have fully implemented       Region IV-S - 75%
III.B.3.a.7.b    the practice model for at least 12 months,
                                                                                    Region I-S — 100%
                 at least 95% of foster children in custody    Region I-S - 100%
                                                                                    Region II-W —100/
                 in that region shall have a permanency        Region lI-W - 100%
                                                                                    Region V-W —80/
                 plan that is consistent with MSA
                 requirements.
                 Practice Model: For regions that have fully
                 i mplemented the Practice Model, at least
                 90% of children in custody in that region
                 with the goal of reunification shall have
                                                                                    Region III-S — 35%
                 case record documentation reflecting          Region V-W - 43%
                                                                                    Region I-N — 73%
                 active concurrent permanency planning         Region III-S - 35%
                                                                                    Region IV-N — 80%
MSA              consistent with MSA requirements.             Region I-N - 73%
                                                                                    Region IV-S — 81%
111.6.3.b.2.a                                                  Region IV-N - 50%
                                                                                    Region V-E — 42%
&                For regions that have fully implemented       Region IV-S - 81%
III.B.3.b.3.a    the Practice Model for at least 12 months,
                                                                                    Region I-S— 79%
                 at least 95% of children in custody in that   Region I-S - 79%
                                                                                    Region II-W —91%
                 region with the goal of reunification shall   Region II-W - 91%
                                                                                    Region V-W —21%
                 have case record documentation
                 reflecting active concurrent permanency
                 planning consistent with MSA
                 requirements.
                 Practice Model: For regions that have fully
                 implemented the Practice Model, at least
                 90% of foster children in that region who
                 have been in custody at least six months                           Region III-S — 86%
                                                               Region V-W - 97%
                 shall have a timely court or administrative                        Region I-N —99%
                                                               Region III-S - 86%
                 review consistent with MSA                                         Region IV-N —97%
MSA                                                            Region I-N - 99%
                 requirements.                                                      Region IV-S —100%
III.B.3.c.4.a                                                  Region IV-N - 97%
                                                                                    Region V-E —94%
&                                                              Region IV-S - 100%
                 For regions that have fully implemented
III.B.3.c.5.a
                 the Practice Model for at least 12 months,                         Region I-S — 98%
                                                               Region I-S - 95%
                 at least 95% of foster children in that                            Region II-W —100%
                                                               Region II-W - 98%
                 region who have been in custody at least                           Region V-W — 89%
                 six months shall have a timely court or
                 administrative review consistent with
                 MSA requirements.




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                                                                    Period 3(P3)          Period (P4)          Select Monitor's Report
 Citation                    MSA Requirement
                                                                    Performance          Performance                  Comments
                  Practice Model: For regions that have fully
                  i mplemented the Practice Model, at least
                  90% of foster children in that region who
                                                                                      Region III-S — 39%
                  have been in custody at least 12 months        Region V-W - 94%
                                                                                      Region I-N — 87/o
                  shall have a timely annual court review        Region III-S - 39%
                                                                                      Region IV-N — 81
MSA               consistent with MSA requirements.              Region I-N - 87%
                                                                                      Region IV-S — 83%
I11.13.3.c.4.b                                                   Region IV-N - 81%
                                                                                      Region V-E — 89%
&                 For regions that have fully implemented        Region IV-S - 83%
I11.13.3.c.5.b    the Practice Model for at least 12 months,
                                                                                      Region 15— 94%
                  at least 95% of foster children in that        Region I-S - 89%
                                                                                      Region II-W — 99%
                  region who have been in custody at least       Region II-W - 93%
                                                                                      Region V-W — 85%
                  12 months shall have a timely annual
                  court review consistent with MSA
                  requirements.
                  Practice Model: For regions that have fully
                  implemented the Practice Model, at least
                  80% of foster children in that region with
                  a permanency goal of reunification shall
                  have service plans for their parents that
                  identify those services DFCS deems
                  necessary to address the behaviors or
                  conditions resulting in the child's
                  placement in foster care, and case record                           Region III-S — 49%
                  documentation the DFCS made those                                   Region I-N — 70%
                  identified services available directly or                           Region IV-N — 97%
MSA
                  through referral.                                                   Region IV-S — 66%
III.B.3.d.4.a                                                                                              Data not produced on this
                                                                 No finding           Region V-E — 66%
&                                                                                                          requirement during P3.
                  For regions that have fully implemented
III.B.3.d.5.a
                  the Practice Model for at least 12 months,                          Region 1-S — 96%
                  at least 90% of foster children in that                             Region II-W — 75%
                  region with a permanency goal of                                    Region V-W — 89%
                  reunification shall have service plans for
                  their parents that identify those services
                  DFCS deems necessary to address the
                  behaviors or conditions resulting in the
                  child's placement in foster care and case
                  record documentation that DFCS made
                  those identified services available directly
                  or through referral.




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                                                                   Period 3(P3)         Period (P4)           Select Monitor's Report
 Citation                    MSA Requirement
                                                                   Performance          Performance                  Comments
                  Practice Model: For regions that have fully
                  i mplemented the Practice Model, at least
                  80% of foster children in that region who
                  reach the point at which they have spent
                  17 of the previous 22 months in foster
                  care shall have a petition to TPR filed on
                                                                                     Region III-S — 87%
                  their behalf or an available exception        Region V-W - 78%
                                                                                     Region I-N — 94%
                  under the federal AFSA documented by          Region III-S - 87%
                                                                                     Region IV-N — 88%
MSA               the end of their 17th month in care.          Region I-N - 94%
                                                                                     Region IV-S — 98%
I11.13.3.e.2.a                                                  Region IV-N - 88%
                                                                                     Region V-E —92%
&                 For regions that have fully implemented       Region IV-S - 98%
111.8.3.e.3.a     the Practice Model for at least 12 months,
                                                                                     Region I-S — 93%
                  at least 90% offoster children in that        Region I-S - 95%
                                                                                     Region II-W —83%
                  region who reach the point at which they      Region II-W - 89%
                                                                                     Region V-W — 88%
                  have spent 17 of the previous 22 months
                  in foster care shall have a petition to TPR
                  filed on their behalf or an available
                  exception under the federal AFSA
                  documented by the last day of their 17th
                  month in care.
                  Practice Model: For regions that have fully
                  implemented the Practice Model, at least
                  80% of foster children in that region who
                  have spent more than 17 of the previous
                  22 months in foster care with a TPR
                  petition filed on their behalf or an                               Region III-S — 76%
                                                                Region V-W - 18%
                  available AFSA exception documented                                Region I-N — 33%
                                                                Region III-S - 76%
                  shall have a petition filed or an available                        Region IV-N —60%
MSA                                                             Region I-N - 33%
                  exception documented.                                              Region IV-S — 100%
III.B.3.e.2.b                                                   Region IV-N - 60%
                                                                                     Region IV-E — 20%
&                                                               Region IV-S - 100%
                  For regions that have fully implemented
III.B.3.e.3.b
                  the Practice Model for at least 12 months,                         Region I-S — 63%
                                                                Region I-S - 50%
                  at least 90% of foster children in that                            Region II-W — 33%
                                                                Region II-W - 100%
                  region who have spent more than 17 of                              Region V-W — 20%
                  the previous 22 months in foster care
                  shall have a petition to TPR filed on their
                  behalf or an available AFSA exception
                  documented shall have a petition filed or
                  an available exception documented.
                  Practice Model: For regions that have fully
                  implemented the Practice Model, at least
                  90% of child welfare case records in that
                                                                                                          Parties agreed that defendants
                  region will be current and complete.
MSA                                                                                                       performance relative to this
111.13.4.b.1 &                                                  No finding           No finding           requirement would be measured
                  For regions that have fully implemented
III.B.4.c.1                                                                                               through a case record review
                  the Practice Model for at least 12 months,
                                                                                                          conducted during P5.
                  at least 95% of child welfare case records
                  in that region will be current and
                  complete.




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                                                                     Period 3(P3)         Period (P4)          Select Monitor's Report
 Citation                   MSA Requirement
                                                                     Performance         Performance                  Comments
                 MSA requires that for all children entering
                 foster care, a visitation plan for the child
                 and his/her family shall be developed as
                 part of the service plan. This visitation
                 plan shall be developed and regularly
                 u pdated in collaboration with parents,
                                                                                                          Due to data limitations, the Monitor
                 resource parents, and child. If parental
                                                                                                          was unable to analyze the
                 visitation is appropriate based on the
MSA                                                                                                       defendant's submission. The parties
                 above factors, this visitation plan shall                            No finding
III.B.5.a                                                                                                 agreed that performance for this
                 i nclude a minimum of two visits per
                                                                                                          requirement would be measured
                 month with the parents (unless a court
                                                                                                          through a P6 case record review.
                 order in the child's case limits such visits).
                 For all children, regardless of permanency
                 goal, this visitation plan shall include at
                 least one visit per month with any siblings
                 not in the same placement (unless a court
                 order in the child's case limits such visits).
                 Practice Model: For regions that have fully
                 implemented the practice model, at least
                 80% of foster children in that region shall
                 be provided with contacts with their
                 parents and with any siblings not in the
                 same placement consistent with MSA                                   Region III-S —2%
                                                                  Region V-W - 9%
                 requirements, unless it is documented                                Region I-N —26%
                                                                  Region III-S - 2%
                 that a parent or sibling failed to make                              Region IV-N —40%
                                                                  Region I-N - 26%
MSA              himself or herself available.                                        Region IV-S — 13%
                                                                  Region IV-N - 40%
111.6.5.d.1 &                                                                         Region V-E — 16%
                                                                  Region 1V-S - 13%
I11.13.5.e.1     For regions that have fully implemented
                 the practice model for at least 12 months,                           Region I-S— 40%
                                                                  Region I-S - 39%
                 at least 90% of foster children in that                              Region II-W — 29%
                                                                  Region II-W - 0%
                 region shall be provided with contacts                               Region V-W —31%
                 with their parents and with any siblings
                 not in the same placement consistent
                 with MSA requirements, unless it is
                 documented that a parent or sibling failed
                 to make himself or herself available.
                 MSA requires that DFCS shall make all
                 reasonable efforts to ensure the
                 continuity of a child's educational
                                                                                                          Due to data limitations, the parties
                 experience by keeping the child in a
MSA                                                                                                       agreed that performance for this
                 familiar or current school and                                       No finding
III.B.6.c                                                                                                 requirement would be measured
                 neighborhood, when this is in the child's
                                                                                                          through a P5 case record review.
                 best interests and feasible, and by limiting
                 the number of school changes the child
                 experiences.




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                                                                   Period 3(P3)          Period (P4)          Select Monitor's Report
 Citation                    MSA Requirement
                                                                   Performance          Performance                  Comments
                  Practice Model: For regions that have fully
                  implemented the practice model, at least
                  80% of school-age foster children in that
                  region who enter custody shall have their
                  educational records reviewed and their
                                                                                     Region III-S — 20%
                  educational needs documented by their         Region V-W - 69%
                                                                                     Region I-N — 28%
                  DFCS caseworker within 30 calendar days       Region III-S - 20%
                                                                                     Region IV-N — 89%
                  of their entry into foster care.              Region I-N - 28%
MSA                                                                                  Region IV-S — 80%
                                                                Region IV-N - 89%
III.B.6.d.1 &                                                                        Region V-E — 45%
                  For regions that have fully implemented       Region IV-S- 80%
111.6.6.e.1
                  the practice model for at least 12 months,
                                                                                     Region I-S— 70/°
                                                                                                   %
                  at least 90% of school-age foster children    Region I-S - 90%
                                                                                     Region II-W —41%
                  in that region who enter custody shall        Region II-W - 61%
                                                                                     Region V-W — 46%
                  have their educational records reviewed
                  and their educational needs documented
                  by their DFCS caseworkers within 30
                  calendar days of their entry into foster
                  care.
                  Practice Model: For regions that have fully
                  implemented the practice model, at least
                  80% of school-age foster children in that
                  region who enter custody or are subject
                  to a change in schools due to a placement
                  move shall be registered for and
                  attending an accredited school within
                  three business days of the initial
                  placement or placement change,                                     Region III-S — 64%
                                                                Region V-W - 94%
                  including while placed in shelters or other                        Region I-N — 79%
                                                                Region III-S - 64%
                  temporary placements, unless delayed by                            Region IV-N-89%
                                                                Region I-N - 79%
                  the Youth Court.                                                   Region IV-S — 83%
111.13.6.d.2 &                                                  Region IV-N - 89%
                                                                                     Region V-E — 80%
111.13.6.e.2                                                    Region IV-S - 83%
                  For regions that have fully implemented
                  the practice model for at least 12 month,                          Region I-S — 85%
                                                                Region I-S - 79%
                  at least 90% of school-age foster children                         Region II-W —43%
                                                                Region II-W - 26%
                  in that region who enter custody or are                            Region V-W — 90%
                  subject to a change in schools due to a
                  placement move shall be registered for
                  and attending an accredited school within
                  three business days of the initial
                  placement or placement change,
                  including while placed in shelters or other
                  temporary placements, unless delayed by
                  the Youth Court.
                  The MSA requires that for youth
                  transitioning to independent living, DFCS                                               The parties have agreed defendants'
MSA               shall assist youth in obtaining or                                                      performance for this requirement
                                                                                     No finding
III.B.7.d         compiling the following documents and                                                   will be measured through a P6 case
                  such efforts shall be documented in the                                                 record review.
                  child's case record.




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                                                                    Period 3(P3)           Period (P4)        Select Monitor's Report
 Citation                   MSA Requirement
                                                                    Performance           Performance                Comments
                                                                                      Region III-S — 29%
                                                                 Region V-W - 64%     (MACWIS),53%(PAD)
                 Practice Model: For regions that have fully
                                                                 (MACWIS),83%(PAD)    Region I-N — 40%
                 i mplemented the practice model, at least
                                                                 Region III-S - 29%   (MACWIS),52%(PAD)
                 90% of foster children in that region who
                                                                 (MACWIS),53%(PAD)    Region IV-N —74%
                 are 14-20 years old shall be provided with
                                                                 Region I-N - 39%     (MACWIS),75%(PAD)
                 Independent Living Services as set forth in
                                                                 (MACWIS),52%(PAD)    Region IV-S — 36%
                 their service plan.
MSA                                                              Region IV-N - 74%    (MACWIS),78%(PAD)
III.B.7.e.1 &                                                    (MACWIS),75%(PAD)    Region V-E —45%
                 For regions that have fully implemented
III.B.7.f.1                                                      Region IV-S - 36%    (MACWIS),60%(PAD)
                 the practice model for at least 12 months,
                                                                 (MACWIS),78%(PAD)
                 at least 95% of foster children in that
                                                                                      Region I-S — 89%
                 region who are 14-20 years old shall be
                                                                  Region I-S - 63%    (MACWIS),81%(PAD)
                 provided with Independent Living Services
                                                                 (MACWIS),83%(PAD)    Region II-W — 70%
                 as set forth in their service plan during the
                                                                  Region II-W - 75%   (MACWIS),80%(PAD)
                 period.
                                                                 (MACWIS),87%(PAD)    Region V-W —48%
                                                                                      (MACWIS),85%(PAD)
                 Practice Model: For regions that have fully
                 implemented the practice model, at least
                 80% of foster children in that region who
                 are transitioning to independence shall
                 have available an adequate living
                 arrangement, a source of income, health
                 care, independent living stipends, and
                 education and training vouchers. DFCS
                 shall also assist such children in obtaining,
                 prior to transitioning to independent
                 living, the necessary documents and
                 information identified in the COA                                    Region III-S — 60%
                                                                 Region V-W - 91%
                 standard PA-FC 13.06 for emancipating                                Region I-N —50%
                                                                 Region III-S - 60%
                 youth. Those efforts shall be documented                             Region IV-N — 100%
                                                                 Region I-N - 80%
MSA              in the child's case record.                                          Region IV-S — 100%
                                                                 Region IV-N - 100%
111.6.7.e.2 &                                                                         Region V-E — 33%
                                                                 Region IV-5 - 100%
111.13.71.2      For regions that have fully implemented
                 the practice model for at least 12 months,                           Region I-S — 80%
                                                                 Region I-S - 44%
                 at least 90% of foster children in that                              Region II-W — 0%
                                                                 Region II-W - 25%
                 region who are transitioning to                                      Region V-W — 67%
                 independence shall have available an
                 adequate living arrangement, a source of
                 income, health care, independent living
                 stipends, and education and training
                 vouchers. DFCS shall assist such children
                 in obtaining, prior to transitioning to
                 independent living, the necessary
                 documents and information identified in
                 the COA standard PA-FC 13.06 for
                 emancipating youth. Those efforts shall
                 be documented in the child's case record.




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                                                                      Period 3(P3)         Period (P4)         Select Monitor's Report
 Citation                    MSA Requirement
                                                                      Performance         Performance                 Comments
                 MSA requires that before the end of any
                 trial home visit period,there shall be a
                 final family team meeting, which shall
                 include the child's caseworker,the
                                                                                                          The parties have agreed defendants'
                 caseworker's supervisor, the child, and
MSA                                                                                                       performance for this requirement
                 the relative or parent assuming custody,                              No finding
III.B.8.c                                                                                                 will be measured through a P6 case
                 to determine the appropriateness of a
                                                                                                          record review.
                 final discharge. If final discharge is
                 determined to be appropriate, DFCS shall
                 make the appropriate application to the
                 court to be relieved of custody.
                 Practice Model: For regions that have fully
                 implemented the practice model, at least
                 70% of foster children in that region who
                 are reunified and who were in custody
                 longer than 90 days shall receive a 90-day
                 trial home visit period or have case record
                 documentation reflecting the Youth
                 Court's objection to such a trial home
                 visit. During that trial home visit period,
                 the child's caseworker or a Family
                 Preservation caseworker shall meet with
                 the child in the home at least two times
                 per month, and DFCS shall provide or              Region V-W - 0%
                                                                                                          P4 - Monitor was only able to
                 facilitate access to all services identified in   Region III-S - 0%
                                                                                                          analyze data in one of the five
                 the child's after-care plan, consistent with      Region I-N - 33%
MSA                                                                                    Region V-E — 50%   regions that fully implemented the
                 MSA requirements.                                 Region IV-N - 0%
III.B.8.d.1 &                                                                                             practice model, and in one of the
                                                                   Region IV-S - 43%
III.B.8.e.1                                                                            Region V-W — 0%    three regions that had fully
                 For regions that have fully implemented
                                                                                                          implemented the practice model for
                 the practice model for at least 12 months,        Region I-S - 57%
                                                                                                          at least 12 months.
                 at least 90% of foster children in that           Region II-W - 50%
                 region who are reunified and who were in
                 custody longer than 90 days shall receive
                 a 90-day trial home visit period or have
                 case record documentation reflecting the
                 Youth Court's objection to such a trial
                 home visit. During that trial home visit
                 period, the child's caseworker shall meet
                 with the child in the home at least two
                 times per month, and DFCS shall provide
                 or facilitate access to all services
                 identified in the child's after-care plan,
                 consistent with MSA requirements.




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                                                                  Period 3(P3)          Period (P4)          Select Monitor's Report
 Citation                   MSA Requirement
                                                                  Performance          Performance                  Comments
                 Practice Model: For regions that have fully
                 i mplemented the practice model, at least
                 60% of foster children in that region who
                 are discharged from custody and                                    Region Ill-S— 73%
                                                               Region V-W - 59%
                 reunified with their parents or caretakers                         Region I-N — 69%
                                                               Region III-S - 73%
                 shall be reunified within 12 months of the                         Region IV-N — 50%
                                                               Region I-N - 69%
MSA              latest removal from home.                                          Region IV-S — 62%
                                                               Region IV-N - 50%
III.C.1.a.1 &                                                                       Region V-E — 47%
                                                               Region IV-5 - 62%
III.C.1.b.1      For regions that have fully implemented
                 the practice model for at least 12 months,                         Region I-S — 73%
                                                               Region I-S - 55%
                 at least 70% of foster children in that                            Region II-W — 51%
                                                               Region II-W - 44%
                 region who are discharged from custody                             Region V-W — 37%
                 and reunified with their parents or
                 caretakers shall be reunified within 12
                 months of the latest removal from home.
                 Practice Model: For regions that have fully
                 i mplemented the practice model, at least
                 25% of foster children in that region who
                 are discharged upon finalization or an                             Region III-S — 0%
                                                               Region V-W - 50%
                 adoption shall have had the adoption                               Region I-N — 17%
                                                               Region III-S - 0%
                 finalized within 24 months of the latest                           Region IV-N —0%
                                                               Region I-N - 17%
MSA              removal from home.                                                 Region IV-S — 8%
                                                               Region IV-N - 0%
III.C.2.a.1 &                                                                       Region V-E —13%
                                                               Region IV-S - 8%
III.C.2.b.1      For regions that have fully implemented
                 the practice model for at least 12 months,                         Region I-S — 28%
                                                               Region I-S - 29%
                 at least 30% of foster children in that                            Region II-W — 0%
                                                               Region II-W - 9%
                 region who are discharged upon                                     Region V-W — 45%
                 finalization of an adoption shall have had
                 the adoption finalized within 24 months
                 of the latest removal from home.
                                                                                                        A final decision by COA is expected in
                                                                                                        the next several months; however, it
                                                                                                        appears MDHS will not be
                 MSA requires that DFCS's foster care                                                   accredited. On 3/26/15 COA's CEO
                 services shall be accredited by COA                                                    informed DHS that they will not be
MSA IV                                                                              No finding
                 pursuant to COA's relevant management                                                  accredited by the July 2015 deadline
                 and service standards.                                                                 d ue to failure to meet certain
                                                                                                        MACWIS standards and the
                                                                                                        "pervasive, ongoing issues with
                                                                                                        assessment and service planning."




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                       Appendix B. Mississippi State Public Teacher Salary Schedule

                                                         FY2015-16 MAEP SALARY SCHEDULE
                                                                       MS Code Section 37-19-7


                                                       Certification        Certification     Certification    Certification
                                       Yrs. Exp.          Levet                 Level             Level            Level
                                                          AAAA                  AAA                AA                A

                             Base          0                 39,108               37,944            36,780           34,390
                                           1                 39,108               37,944            36,780           34,390
                                           2                 39,108               37,944            36,780           34,390

            Increment for 3-35 yrs                               794                  727               660              495

                 Base + Increment                            39,902               38,671            37,440           34,885
                                           4                 40,696               39,398            38,100           35,380
                                           5                 41,490               40,125            38,760           35,875
                                           6                 42,284               40,852            39,420           36,370
                                           7                 43,078               41,579            40,080           36,865
                                          8                  43,872               42,306            40,740           37,360
                                           9                 44,666               43,033            41,400           37,855
                                          10                 45,460               43,760            42,060           38,350
                                          11                 46,254               44,487            42,720           38,845
                                          12                 47,048               45,214            43,380           39,340
                                          13                 47,842               45,941            44,040           39,835
                                          14                 48,636               46,668            44,700           40,330
                                          15                 49,430               47,395            45,360           40,825
                                          16                 50,224               48,122            46,020           41,320
                                          17                 51,018               48,849            46,680           41,815
                                          18                 51,812               49,576            47,340           42,310
                                          19                 52,606               50,303            48,000           42,805
                                          20                 53,400               51,030            48,660           43,300
                                          21                 54,194               51,757            49,320           43,795
                                          22                 54,988               52,484            49,980           44,290
                                          23                 55,782               53,211            50,640           44,785
                                          24                 56,576               53,938            51,300           45,280

      tdd'i Increment for 25th year                            2,060                2,060              2,060           2,060

                                          25                 59,430               56,725            54,020           47,835
                                          26                 60,224               57,452            54,680           48,330
                                          27                 61,018               58,179            55,340           48,825
                                          28                 61,812               58,906            56,000           49,320
                                          29                 62,606               59,633            56,660           49,815
                                          30                 63,400               60,360            57,320           50,310
                                          31                 64,194               61,087            57,980           50,805
                                          32                 64,988               61,814            58,640           51,300
                                          33                 65,782               62,541            59,300           51,795
                                          34                 66,576               63,268            59,960           52,290
                                      35 & above             67,370               63,995            60,620           52,785
                                      NOTE: Assistant Teachers - $12,500(MS Code Section 37-21-7(6))


Certification Level A - Bachelor's degree                          Certification Level AAA -Specialist Degree
Certification Level AA - Master's degree                           Certification Level AAAA - Doctorate Degree




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                 Appendix C. CSF Recommendations and MSA Requirements

                                     Reunification Services
CSF Recommendations
   • To increase the array of services in the State to be used to facilitate and sustain
       reunification, MDHS can use Federal title IV-B funds to fund in-house staff that provides
      family preservation and reunification services, some consideration of this approach
       might be considered in order to supplement the contracted services and increase the
      availability of services in rural areas of the State. Since these funds are capped, this
       might mean diverting existing IV-B expenditures, but developing some type of in-house
      capacity to provide needed reunification services is worth considering as a means of
       making services available where they are currently unavailable.

   • To increase the array of services in the State to be used to facilitate and sustain
     reunification, we recommend that the capacity of existing contractors to provide
       reunification-related services be increased statewide. This can be done by increasing
       funding for these services as well as relaxing some of the program restrictions that now
       limit the access to these services by families needing reunification services. If the
       Department wishes to reserve family preservation families for placement prevention
       and reunification from short-term stays in foster care, we recommend that the
       expansion of services occur with intensive in-home services.

       To increase the array of services in the State to be used to facilitate and sustain
       reunification, we recommend that flexible funds be earmarked for use in helping to
       meet the basic needs of families seeking to reunify with their children in foster care,
       and/or that procedures for accessing available funds be clarified and simplified.

   • We recommend that the State examine services and practices with established records
     of effectiveness in reunifying children and families timely and appropriately and, where
     possible, consider replicating some of those "best practices" within the State. For
     example, we recommend attention to the Model Youth Court program in Forest County
     as a means of providing services directed toward reunifying very young children in
     foster care with their families.

   • To tailor reunification services to the individualized needs of the families receiving them,
     we recommend relaxing the requirements for all families to complete standardized
     programs regardless of their individual circumstances, strengths, and needs.




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  • To tailor reunification services to the individualized needs of the families receiving them,
      we recommend adding to the service array the capacity to provide more in-home
      services to families such as in-home behavioral health interventions as an alternative to
      office-based mental health counseling, and in-home parent coaching and support as an
      alternative to standardized parenting classes.

  • To tailor reunification services to the individualized needs of the families receiving them,
      we recommend that the Department's performance-based contracting system, when
      i mplemented, support the need for providers to respond flexibly to families' needs with
      services that reflect their unique strengths and needs in the comprehensive family
      assessments and case plans.

  • To tailor reunification services to the individualized needs of the families receiving them,
      we recommend strengthening both policy and practice requiring MDHS staff to
      coordinate case planning and service provision activities with service providers in order
      to ensure that services match needs, and to monitor the effectiveness of service
      provision in facilitating and supporting reunification.

  • To strengthen policy and training to support improvement in practice with regard to
      reunification, we recommend strengthened case planning and ISP policy and training
      that focus on identifying strengths and needs, matching services to needs, brokering for
      and obtaining needed services, and monitoring the effectiveness of services. This should
      include the active involvement of service providers in case planning processes whenever
      a ppropriate.

MSA Requirements
  • For regions that have fully implemented the Practice Model, at least 80% of foster
      children in that region with a permanency goal of reunification shall have service plans
      for their parents that identify those services DFCS deems necessary to address the
      behaviors or conditions resulting in the child's placement in foster care, and case record
      documentation that DFCS made those identified services available directly or through
      referral (MSA111.13.3.d.4.a.).
          o Performance:
                  ■   Region III-S — 49%
                  ■   Region I-N — 70%
                  ■   Region IV-N — 97%
                  ■   Region IV-S — 66%
                  ■   Region V-E — 66%


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      For regions that have fully implemented the Practice Model for at least 12 months, at
      least 90% of foster children in that region with a permanency goal of reunification shall
      have service plans for their parents that identify those services DFCS deems necessary
      to address the behaviors or conditions resulting in the child's placement in foster care
      and case record documentation that DFCS made those identified services available
      directly or through referral (MSA
          o Performance:
                   ■   Region I-S — 96%
                   ■   Region II-W — 75%
                   ■   Region V-W — 89%


   • For regions that have fully implemented the Practice Model, at least 60% of foster
      children in that region who are discharged from custody and reunified with their parents
      or caretakers shall be reunified within 12 months of the latest removal from home(MSA
      III.C.1.a.1.).
          o Performance:
                   ■   Region III-S — 73%
                   ■   Region I-N — 69%
                   ■   Region IV-N — 50%
                   ■   Region IV-S — 62% -
                   ■   Region V-E — 47%

      For regions that have fully implemented the Practice Model for 12 months, at least 70%
      of foster children in that region who are discharged from custody and reunified with
      their parents or caretakers shall be reunified within 12 months of the latest removal
      from home(MSA III.C.1.b.1.).
          o Performance:
                   ■   Region I-S — 55%
                   ■   Region II-W — 44%
                   ■   Region V-W — 42%


                          Medical, Dental and Mental Health Services
CSF Recommendations
   • We recommend that MDHS enter into collaborative agreements with the DMH and the
      State's Medicaid agency to fund mental health professionals in rural areas of the State
      that serve children and families served by MDHS. Since most of the families are
      Medicaid-eligible, we believe that the services they provide would be reimbursable



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       through Medicaid and it would immediately increase families' access to mental health
       services in the State.


   •   MDHS and MDMH should develop a collaborative program to serve the mental health
       needs of foster care children statewide, including specialty services, e.g., psychological
       examinations, treatment for abuse and neglected children and youth, etc. This should
       include the possibility of hiring qualified mental health professionals to be based in
       M DHS regional offices to serve counties where the service population is the greatest or
       where gaps in services are the most prevalent, for example, in many of the rural areas of
       the State. Programs of this nature can offer a diverse range of services and can be
       structured to enable Medicaid billing to cover a majority of the staffing and
       administrative costs. The participation of the State Medicaid Agency should be pursued
       to explore further creation of these types of innovative programs along with funding
       arrangements.


  • In cooperation with the colleges and universities in the State, MDHS and the State Board
       of Dental Examiners should intensify efforts to recruit dentists to provide services to
       children and youth in foster care, as well as to children served in their own homes
       through MDHS. This effort may be part of a more comprehensive approach to providing
       health care in rural and underserved areas of the State. A clinic approach that
       specializes in providing Medicaid-funded dental care to children can offer access that is
       currently unavailable, and there are models around the country to draw on in designing
       such a program.


  • MDHS should collaborate with the State Medicaid Agency to pursue the possibility of
       exercising State options that could include an expansion of dental services to include
       orthodontic care for children and adolescents.


  • MDHS should collaborate with DMH and the State Medicaid Agency to establish
       additional waiver programs to expand its provision of mental health services to children
       who are placed in foster homes. The MYPAC program is one example of a waiver
       program that could also serve children residing in foster family homes at risk of entering
       PRTF's, thereby enabling these youth to receive needed services and remain in the
       community.


  •    MDHS should collaborate with the psychology and behavioral science programs of the
       State's post-secondary systems to explore the possibility of establishing internships and
       field placements within MDHS, providing opportunities for professional and academic

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      advancement that includes direct services and interventions to children and adolescents
      in foster care.


  • MDHS should incorporate specific measures and review processes within its CQI system
      to ensure that all initial screenings are conducted within established timeframes.


  •   MDHS should ensure that its Foster Care Reviews (FCR) include the evaluation of the
      provision of needed medical services as part of appropriate case planning efforts and
      timely achievement of case plan goals.


  • MDHS should establish both supervisory practices and monitoring processes within its
      CQI system to ensure that resource parents are provided timely and accurate medical
      information that enables them to meet the needs of children in their care.


  • MDHS should reimburse resource parents for transportation of children to all necessary
      a ppointments on behalf of the medical, dental, and mental health needs of children in
      their care.

MSA Requirements
  • MSA (11.112.a & II.B.3.j.1 (P4) or 11.13.3.i.1 (P3)) requires by the end of P4 (P3), 70%(50%)
      of children entering custody receive a health screening evaluation as recommended by
      American Academy of Pediatrics from a qualified medical practitioner within 72 hours
      after placement.
          o Performance: 27 percent
          o   Monitor's Notes: Data produced only reports on timeliness of initial health
              screening evaluation not whether they were conducted by a qualified medical
              practitioner or in accordance with recommendations by the American Academy
              of Pediatrics. A case record review was conducted during P5 and will be
              presented in a forthcoming report.


  • MSA (II.B.3.b & 11.6.3.j.2 (P4) or II.B.3.1.2 (P3)) requires by the end of P4 (P3), 70%(50%)
      of children entering custody receive a comprehensive health assessment within 30
      calendar days consistent with MSA requirement.
          o Performance: 33 percent
          o   Monitor's Notes: Data produced only reports on timeliness of initial health
              screening evaluation not whether the assessment was consistent with
              recommendations by the American Academy of Pediatrics. A case record review
              was conducted during P5 and will be presented in a forthcoming report.


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   • MSA (11.13.3.j.3) requires that at least 85% of children in custody during the Period shall
       receive periodic medical examinations and all medically necessary follow-up services
       and treatment consistent with MSA requirements.
           o Performance: No findings
           o   Monitor's Notes: Parties agreed to measure performance for this requirement
               through a P5 case record review. Findings from the case record review will be
               presented in a forthcoming report — however, data indicates that the
               requirement was not met.

   • MSA (11.13.3.e & 11.13.3.j.4 (P4) or 11.13.3.i.4 (P3)) requires by the end of P4 (P3), 75%(60%)
       of children three years old and older entering custody or in care and turning three years
       old during the Period shall receive a dental examination within 90 days of placement or
       their third birthday.
           o Performance: 55 percent
           o   Monitor's Notes: Due to data limitations, the parties agreed this performance
               requirement will be assessed through a P5 case record review. Findings will be
               presented in a forthcoming report.


   • MSA requires that by the end of P4(P3), at least 80%(60%) of children in custody during
       the Period shall receive a dental examination every six months consistent with MSA
       requirements and all medically necessary dental services.
           o Performance: 52 percent
           o   Monitor's Notes: Due to data limitations, the parties agreed this performance
               requirement will be assessed through a P5 case record review. Findings will be
               presented in a forthcoming report.


   •   MSA (11.13.3.f & 11.13.3.j.6 (P4) or 11.8.3.1.6 (P3)) requires that by the end of P4(P3) at least
       70% (50%) of children four years old and older entering custody during the Period or in
       care and turning four years old during the Period shall receive mental health assessment
       by a qualified professional within 30 calendar days of foster care placement or their
       fourth birthday, respectively.
           o Performance: 47 percent
           o   Monitor's Report: Data limited to children age 4+ when entering care, does not
               i nclude children who turned 4 while in care. Due to this limitation, the parties
               agreed that performance would be assessed through a P5 case record review.
               Findings will be presented in a forthcoming report.



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   • MSA (11.6.3.j.7 (P4) or II.B.3.i.7 (P3)) requires that at least 80% of children who received
       a mental health assessment during the period shall receive all recommended mental
       health services pursuant to their assessment.
           o Performance: No finding
           o   Monitor's Notes: Parties agreed that defendants performance relative to this
               requirement would be measured through a case record review conducted during
               P5.


   • MSA (11.6.3.j.8 (P4) or 11.13.3.i.8 (P3)) requires that at least 60% of children in custody
       ages birth through three during the Period, and older children if factors indicate it is
       warranted, shall receive a developmental assessment by a qualified professional within
       30 calendar days of foster care placement and all needed developmental services.
           o Performance: No finding
           o   Monitor's Notes: Monitor has concerns over reliability of P3 data. Parties agreed
               that defendants performance relative to this requirement would be measured
               through a case record review conducted during P5.


   • MSA (II.B.3.1.1 & 11.13.3.m.1) requires that at least 80% of foster children in that region
       who enter custody shall receive physical and mental health care in accordance with
       each of the MSAs. At least 90% of foster children in that region who enter custody shall
       receive physical and mental health care in accordance with each of the MSA
       requirements.
           o Performance: No finding
           o   Monitor's Notes: The monitor plans to work with the parties to resolve how
               performance related to these requirements will be measured.


   • MSA (II.B.4.c.1) requires that at least 80% of children in custody during the period
     requiring therapeutic and/or rehabilitative foster care services because of a diagnosis of
       significant medical, developmental, emotional, or behavioral problems shall be provided
       with a treatment plan and services in accordance with their plan.
           o Performance: No finding
           o   Monitor's Notes: Parties agreed that defendants performance relative to this
               requirement would be measured through a case record review conducted during
               P5.


   • For regions that have fully implemented the practice model, at least 80% of the foster
       children in that region who are in custody and require therapeutic and/or rehabilitative
       foster care services because of a diagnosis of significant medical, developmental,

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       emotional or behavioral problems shall be provided with a treatment plan and services
       d uring that period in accordance with their plan (MSA II.B.4.e.1).

       For regions that have fully implemented the practice model for at least 12 months, at
       least 90% of the foster children in that region who are in custody and require
       therapeutic and/or rehabilitative foster care services because of a diagnosis of
       significant medical, developmental, emotional or behavioral problems shall be provided
       with a treatment plan and services during that period in accordance with their plan


           o Performance: No finding
           o Monitor's Notes: Parties agreed that defendants performance relative to this
             requirement would be measured through a case record review conducted during
              P5.

                                      Independent Living
CSF Recommendations
   • The contract for independent living should be substantially modified. The contract
     should permit and require diversity in the range of IL services provided, rather than
       requiring a standard curriculum for all youth as the core service. While we recognize the
       i mportance of the Life Skills classes, we particularly recommend that a repetition of the
       classes not be required and that classes be designed and tailored to individual youth's
       needs, strengths, level of development, and interests.


   • The contract for independent living should be substantially modified. We recommend
     that the contract include the flexibility and requirement to offer a broader range of
       services that are identified for individual youth through the Ansell-Casey Life Skills
       Assessment and the MDHS comprehensive strengths and needs assessment(when this
       is implemented by MDHS).


   • We recommend that resource family training be modified to include content on the
     roles and responsibilities, and the skills needed, of resource families to assist youth in
       their care work toward independence and transition to adulthood. MDHS should create
       the expectation that resource parent involvement in IL service delivery and planning is a
       part of the role of foster parenting for youth.


   • Case planning process for youth in care be strengthened. First, there should be one IL
     and one TL plan for each youth rather than separate plans developed by the contractor
       and the Department.


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  • We recommend that MDHS develop and implement communication protocols for the
    contractor and MDHS staff to meet routinely with the youth to discuss progress toward
       goals, the effectiveness of services, emerging or changing needs and strengths, and
       critical issues to the youth's independence such as aftercare planning and needs for
       services, relationships with family and other individuals, and so forth. All meetings and
       discussions with the youth should be clearly documented in the MACWIS case file.


   • We recommend an increased emphasis and accountability for sharing information
     between the contractor and MDHS staff, particularly as it relates to sharing the Ansell-
       Casey Life Skills Assessment and other information that pertains to serving the youth in
       care.


   • MDHS Regional Directors and Area Social Work Supervisors should ensure that direct
       staff provides health records, appropriate health referrals and relevant information
       about services/programs to youth exiting care and to parents or guardians at the time of
       case closure for the purpose of continuity of health care and service delivery. Part of the
       FCR process might include addressing this issue with resource families since the FCR
       reviews all cases of children in foster care each six months.

MSA Requirements


   • For regions that have fully implemented the practice model, at least 90% of foster
       children in that region who are 14-20 years old shall be provided with Independent
       Living Services as set forth in their service plan (MSA III.B.7.e.1.).
           o Performance:
                  ■   Region III-S — 29%(MACWIS), 53%(PAD)
                  ■   Region I-N —40%(MACWIS), 52%(PAD)
                  ■   Region IV-N — 74%(MACWIS), 75%(PAD)
                  ■   Region IV-S — 36%(MACWIS),78%(PAD)
                  ■   Region V-E — 45%(MACWIS),60%(PAD)
           o   Monitor's Notes: Data reported from two different systems MACWIS and PAD

       For regions that have fully implemented the practice model for at least 12 months, at
       least 95% of foster children in that region who are 14-20 years old shall be provided
       with Independent Living Services as set forth in their service plan during the period
      (MSA III.B.7.f.1.).
           o Performance:
                  ■   Region I-S — 89%(MACWIS),81%(PAD)
                  ■   Region II-W — 70%(MACWIS),80%(PAD)

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                      ■   Region V-W — 48%(MACWIS),85%(PAD)
          o    Monitor's Notes: Data reported from two different systems MACWIS and PAD


  • The MSA (111.6.7.d) requires that for youth transitioning to independent living, DFCS shall
      assist youth in obtaining or compiling the following documents and such efforts shall be
      documented in the child's case record.
          o Performance: No finding
          o    Monitor's Notes: The parties have agreed defendants' performance for this
               requirement will be measured through a P6 case record review.


  • For regions that have fully implemented the practice model, at least 80% of foster
      children in that region who are transitioning to independence shall have available an
      adequate living arrangement, a source of income, health care, independent living
      stipends, and education and training vouchers. DFCS shall also assist such children in
      obtaining, prior to transitioning to independent living, the necessary documents and
      i nformation identified in the COA standard PA-FC 13.06 for emancipating youth. Those
      efforts shall be documented in the child's case record (MSA III.B.7.e.2).
          o Performance:
                      ■   Region III-S — 60%
                      ■   Region I-N — 50%
                      ■   Region IV-N — 100%
                      ■   Region IV-S — 100%
                      ■   Region V-E — 33%

      For regions that have fully implemented the practice model for at least 12 months, at
      least 90% of foster children in that region who are transitioning to independence shall
      have available an adequate living arrangement, a source of income, health care,
      independent living stipends, and education and training vouchers. DFCS shall assist such
      children in obtaining, prior to transitioning to independent living, the necessary
      documents and information identified in the COA standard PA-FC 13.06 for
      emancipating youth. Those efforts shall be documented in the child's case record (MSA
      III.B.7.f.2).
          o Performance:
                      ■   Region I-S — 80%
                      ■   Region II-W — 0%
                      ■   Region V-W — 67%




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                                   Foster Parent Retention
CSF Recommendations
   • Ensure that pre-service training for resource families includes a module on the financial
       aspects of providing foster care, including board payment rates, Medicaid, clothing
       vouchers and reimbursement processes and transportation reimbursement. A sample
       travel voucher should be given to new resource parents during this segment.


   • Streamline the travel voucher system in State Office to reimburse foster parents,
       removing any unnecessary points of contact.


   • Produce a statewide newsletter to inform all resource families of training opportunities,
       resources, support groups, new policy, and so forth.

MSA Requirements
   • MSA (II.A.7.a) requires that all licensed resource families (regardless of whether they are
       supervised directly by DFCS or by private providers) receive at least the minimum
       reimbursement rate for a given level of service as established pursuant to the MSA.
           o Performance: 98 percent
           o   Monitor's Notes: Two data reports were produced for this requirement, however
               only one of the reports was analyzable by the monitors.


   • MSA (11.8.2.i & II.B.2.q.9(P4) or 11.8.2.p.14(P3)) requires by the end of P4(P3), 60%
      (40%)of children placed in a new placement during the period shall have their currently
       available medical, dental, educational, and psychological information provided to their
       resource parents or facility staff no later than at the time of any new placement during
       the period.
           o Performance: 20 percent
           o   Monitor's Notes: Data provided assesses whether information is available within
               15 days of placement not at the time of placement.




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                 Appendix D. Estimate of Per-Child Welfare Spending
                           • Number of Foster children are based on EOY 2011/ Expenditures are SFY 2012
                                                   http://nnvw.childwelfarepolicy.org
                                                                                                         Expendtture
                                                                     Number of           Expenditure     Change
                   State                         Expenditure'        Foster Children'     Per Child      2010-2012
                   Alabama                        $298 638 882.00          5295             $56,400.00         -14%
                   Alaska                         $149,118,449.00          1829             581,530.00         -14%
                   Arizona                        $533,341,049.00         10,883            $49,006.00          -2%
                   Arkansas                       $143,244,928.00          3732             $38,382.00         -1%
                   Callfomia                    $3,926,431,373.00         54,646            $71,852.00         -18%
                   Colorado                       $419,715,208.00          6488             564,691.00         '5%
                   Connecticut                    $601,733,040.00          5012 s          5120,058.00         -25%
                   Delaware                         $58,529,941.00           845            $69,266.00          9%
                   Washington DC                   $238,924,505.00          1797           $132,957.00         -17%
                   Florida                      $1,107,773,735.00         19,760            556,061.00
                   Gear&                          $550,747,881.00           7591            $72,552-00          -37
                                                                                                                  '
                   Hawaii                                        7          1122
                   Idaho                            $51,187,879.00          1354           537,804.00   -5%
                   Illinois                     $1,181,335,596.00          17641           $66,965.00   '8%
                   Indiana                         5620,936,473.00         10779           557,606.00   15%
                   Iowa                           5275,362,601.00           6344           $43,405.00   -5%
                   Kansas                         $238,231,498.00           5852           $40,709.00   -8%
                   Kentucky                       5509,379,793.00          6659            $76,494.03  '-27
                   Louisiana                      $203,811,944.00          4,531           544,981.00 -70g---
                   Maine                          $113,484,127.00           1296           $87,564.00  -11%
                   Maryland                       5545,582,756.00           5704           $95,649.00   -6%
                   Massachusetts                  $730,997,988.00          8619            $84,812.00   -7%
                   Michigan                       $994,416,609.00         15,091           $65,894.00   35%
                   Minnesota                      5529,778,891.00           4995          5106,061.00    3%
                  Mississippi                     5111,666,884.00           3597           $31,044.00   656
                   Missouri                       $492,086,422.00          10620           546,335.00    2%
                   Montana                          $65,986,320.00          1066           $62,838.00   -6%
                   Nebraska                       $217,927,440.00          5117            542,588.00   -1%
                   Nevada                         $122,837,546.00          4636            $26,496.00  -36%
                  New Hampshire                     $64,589,806.00          742            587,048.00  '35%
                  New Jersey                      $962,082,727.00          6440           $149,391.00    2%
                  New Mexico                        $98,553,891.00         1859            553,014.00   -S%
                  New York                      53,025,777,378.00          24962          $121,215.00  '21%
                  North Carolina                  5498,418,513.03          8601            597,948.00   -A
                  North Dakota                      $62,917,598.00         1066            $59,022.00   -4%
                  Ohio                          $1,340,213,436.00         12069           $111,045.00   65%
                  Oklahoma                        $258,260,486.00          8280            $31,190.00   8%
                  Oregon                          $466,077,801.00          8871            $52,539.00   6%
                  Pennsylvania                  $1,702,034,451.00         14175           $120,072.00  -14%
                  Rhode Island                    $167,825,001.00          1806            $92,926.00  -18%
                  South Carolina                  $226,109,373.00          3821            $59,175.00  -13%
                  South Dakota                      $55,008,191.00         1407            $39,096.00   -7%
                  Tennessee                       5520,367,200.00          7647             $68,048.00          1%
                  Texas                         $1,285,263,740.00         30,109           $42,687.00          -11%
                  Utah                            $153,138,626.00          2701            $56,697.00          -12%
                  Vermont                           $87,811,555.00         1010            $86,942.00           0%
                  Virginia                        $680,665,410.00          4846           $140,459.00           5%
                  Washington                      $509,888,833.00          9533            $53,486.00          -16%
                  West Virginia                  $303,427,715.00           4475            567,805.00          -5%
                  Wisconsin                       $458,294,127.00          6547            $70,000.00           4%
                  Wyoming                           $37,357,181.00          886            $42,163.00          -27%

                  NOTES
                   Total Welfare Expenditures in SFY 2012 - all Sources
                  a 2011 Foster Core Facts - ti of Children in FC at end of2011

                   WW1,acthhs.gov - data as of 9/30/11-


                  •The number of foster children shown is at a particular point in time,e.g., last day of the year, while
                  the amounts spent statewide were for all thildren served in foster care during the year, e.g., all the
                  children who came Into foster care and left foster care In addition to those still in care at the end of
                  the year.

                  • The amounts spent statewide are not only for children in foster care. The state total amounts
                  include federal funds from title IV-8 and SSBG, both of which are used to serve children In
                  protection/prevention cases who are not In foster care.




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